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                Nos. 22-50080, 22-50081, 22-50082, 22-50103


        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


                       UNITED STATES OF AMERICA,
                        Plaintiff-Appellee/Cross-Appellant,
                                          v.
                  SCUDERIA DEVELOPMENT LLC ET AL.,
                        Defendants-Appellants/Cross-Appellees.


          APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF CALIFORNIA
               DISTRICT COURT NO. CR 19-282-RGK

               SECOND BRIEF ON CROSS APPEAL


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               No. 22-50080, 22-50081, 22-50082, 22-50103

         IN THE UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


                        UNITED STATES OF AMERICA,
                          Plaintiff-Appellee/Cross-Appellant,
                                        v.
                    SCUDERIA DEVELOPMENT LLC ET AL.,
                          Defendants-Appellants/Cross-Appellees.


            APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                DISTRICT COURT NO. CR 19-00282-RGK

                SECOND BRIEF ON CROSS APPEAL


                                        I

                             INTRODUCTION

     Defendants-appellants are six corporations that carried out an

international conspiracy to defraud the United States out of $1.83

billion in customs duties, swindle investors in a publicly traded

company, and launder hundreds of millions of dollars around the world.

     The mastermind of the conspiracy, fugitive Zhongtian Liu,

operated China Zhongwang Holdings Limited (“CZW”), a publicly listed
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company and the largest aluminum extrusion manufacturer in Asia.

The defendants in this appeal purchased and stored CZW aluminum in

the United States, with funds provided by CZW itself, as part of a

scheme to deceive U.S. and international investors into believing CZW

had substantial U.S. sales. Beginning in 2010, the Department of

Commerce issued orders imposing customs duties of 400% on certain

aluminum extrusions, including CZW’s. The orders excluded “finished

merchandise,” defined as products that were fully and permanently

assembled at the time of entry.

     To evade the duties, defendants and others agreed to disguise

CZW’s aluminum extrusions as aluminum “pallets” and lied to Customs

and Border Protection, describing the pallets as finished merchandise.

In fact, no market or customer existed for the pallets and none were

sold. Instead, defendants stockpiled the pallets in their warehouses,

intending to later melt them back to raw aluminum. During the course

of the scheme, defendants imported 2.2 million pallets and evaded more

than $1.83 billion in customs duties.

     A jury delivered across-the-board guilty verdicts, convicting

defendants of conspiracy, wire fraud, smuggling goods through customs,



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and money laundering. The district court ordered defendants to pay

$1.83 billion in restitution but then imposed a restitution payment

schedule that requires only nominal payments, even though four of the

defendants own warehouses in California with a collective valuation of

approximately $1 billion.

     Defendants’ convictions and restitution amount were supported by

overwhelming evidence, and their convictions and restitution amount

should be affirmed. The restitution payment schedule, however, was

error. The district court failed to rule on the parties’ dispute regarding

the value of the warehouses, relieved defendants of their burden to

show an inability to pay, did not hold the evidentiary hearing

defendants requested, and had no basis to order a schedule that affords

defendants over 375,000 years to pay for their crimes. The restitution

payment schedule should be vacated and remanded.

                                       II

                          ISSUES PRESENTED

     A.     Whether the district court erred in denying defendants’

motion to dismiss the indictment.




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     B.     Whether the district court abused its discretion in declining

to ask voir dire questions for which defendants offered no rationale.

     C.     Whether the district court erred, plainly erred, or abused its

direction in its jury instructions.

     D.     Whether the district court abused its direction or plainly

erred in admitting co-conspirator statements.

     E.     Whether sufficient evidence supported defendants’ wire and

customs fraud convictions.

     F.     Whether there was a constructive amendment of the

indictment or impermissible variance at trial.

     G.     Whether cumulative error warrants reversal.

     H.     Whether the district court erred or abused its discretion in

imposing and calculating restitution.

     I.     Whether, on cross-appeal, the district court procedurally or

substantively erred in its restitution payment schedule.




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                                      III

                     STATEMENT OF THE CASE

A.   Jurisdiction, Timeliness, and Bail Status

     The district court’s jurisdiction rested on 18 U.S.C. § 3231. This

Court’s jurisdiction rests on 18 U.S.C. § 3742 and 28 U.S.C. § 1291. The

district court entered judgment on April 13, 2022, and defendants

timely appealed on April 21, 2022. (1-ER-15-48; 19-ER-5048-64.)1 See

Fed. R. App. P. 4(b)(1)(A)(i). The government timely cross-appealed on

May 13, 2022. (19-ER-5065.) See Fed. R. App. P. 4(b)(1)(B)(ii).

Defendants are all corporations and thus not in custody.

B.   Statement of Facts and Procedural History

     1.    Defendants carry out a massive international
           conspiracy

     Defendants Zhongtian Liu, Zhaohua Chen, and Xiang Chun

“Johnson” Shao, along with unindicted co-conspirator Eric Shen and

others, executed a massive conspiracy to (1) defraud shareholders in



     1  “ER” refers to defendants’ Excerpts of Record, and “SER” refers
to the government’s Supplemental Excerpts of Record. “AFB” refers to
Appellants’ First Brief on Cross-Appeal. “Presentence Reports” refers
to the pleading defendants filed with that title; such references are
followed by page numbers and, in some instances, paragraph numbers.


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defendant China Zhongwang Holdings Limited (“CZW”) by lying about

the demand for aluminum in the United States through a wire fraud

scheme; (2) defraud the United States by evading over $1.83 billion in

duties through a customs fraud scheme; and (3) launder hundreds of

millions of dollars through accounts in the United States to promote the

investor and customs frauds. (6-ER-1337-90.)

     The defendants executed this scheme through a series of U.S.

companies, including the six defendants in this case, which are split

into groups of two and four:

         The “Perfectus defendants”: Perfectus Aluminium

            Incorporated (“Perfectus”) and Perfectus Aluminum

            Acquisitions LLC; and

         The “Warehouse defendants”: Scuderia Development LLC

            (“Scuderia”), 1001 Doubleday LLC (“Doubleday”), Von-

            Karman-Main Street LLC (“Von Karman”), and 10681

            Production Avenue LLC (“Production Avenue”).

(Id.) All six defendants were located in the Central District of

California and owned and controlled by Liu. (See id.)




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     As established at trial and recounted in the subsections below,

each group of defendants performed a key role in the conspiracy. The

Perfectus defendants, acting at Liu’s direction, pretended to be genuine

purchasers of CZW’s aluminum products and, between 2011 and 2014,

imported aluminum extrusions welded into the form of 2.2 million

pallets in order to criminally evade the customs duties. The Warehouse

defendants, acting at Liu’s direction, used their four warehouses to

store enormous quantities of aluminum for which there were no

legitimate buyers.

            a.    Defendants commit wire fraud to inflate CZW’s
                  value and deceive investors

     Liu was the chairman and majority shareholder of CZW, the

largest aluminum extrusion company in Asia. (13-ER-3303-05; 15-ER-

3917.) In May 2009, CZW became publicly listed on the Hong Kong

Stock Exchange following one of that year’s largest initial public

offerings, which raised $1.26 billion. (6-ER-1339, 1361.)

     The scheme to fraudulently inflate CZW’s value began even before

the company went public. In 2008, in advance of the IPO, Liu, CZW,

and Chen caused $200 million to be wired to a bank account in the

United States controlled by a co-conspirator through Scuderia. (6-ER-


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1360-61; 9-ER-2159-65; 1-SER-134-37, 155.) Scuderia was a

corporation secretly controlled by Liu, and several days after receiving

the $200 million, Scuderia returned the entire sum to CZW in the form

of a bogus loan that CZW never intended to repay. (9-ER-2159-84; 1-

SER-134-37, 284-85.) Then, in CZW’s IPO prospectus, Liu and CZW

misrepresented the transaction as a legitimate loan from an

independent third party. (13-ER-3298-99.)

     After the IPO, Liu and CZW expanded the scheme to inflate

CZW’s value. They began selling an enormous number of aluminum

extrusions to purported customers in the United States that Liu

secretly controlled: Peng Cheng Aluminum and other companies in the

Central District of California that later merged into Perfectus.2 (7-ER-

1570-76; 8-ER-1890-91, 1981-86; 2-SER-326-30.) As a result, CZW

publicly reported that its U.S. revenue rose from only 1.8% of overall




     2 Prior to the creation of Perfectus, there were seven “Perfectus

predecessor entities” that imported aluminum from CZW. (6-ER-1340-
41.) These predecessor entities merged into Perfectus in late 2014. (6-
ER-1341-42; 8-ER-1726-30; 1-SER-138.) “Perfectus defendants” is used
to encompass both Perfectus and its predecessor entities.


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revenue in 2008 to 40.8% and 29.1% of overall revenue in 2009 and

2010, respectively. (13-ER-3327, 3448.)

     The transactions, however, were fake. Emails and wire-transfer

records showed that CZW, through Liu (1) directed Perfectus to make

the aluminum purchases and (2) supplied the purchase funds by wiring

hundreds of millions of dollars through Hong Kong shell companies to

the Perfectus defendants’ California bank accounts. (See, e.g., 6-ER-

1347, 1352-54, 1369-74; 8-ER-1891-1938; 19-ER-5014-19, 5021-22, 5024,

5032-34, 5038; 1-SER-286-89; 2-SER-296-303, 333-57.) CZW employees

emailed Perfectus CEO Shao not only purchase instructions but exact

language that Shao copied and pasted to make the purchases. (8-ER-

1809-10, 1813-30, 1842, 1855-60, 1869, 1890; 19-ER-5014-19.) Shao, in

turn, instructed Perfectus’ accounting manager and successor CEO

Mark Li to categorize the incoming wires from the Hong Kong shell

companies as “loans,” even though Li never saw a single loan agreement

and Perfectus never made any payments on more than $1.28 billion in

“loans.” (8-ER-1890-91, 1894-95, 1963, 1974; 2-SER-331.)

     To conceal his connection with the aluminum straw-buyers, Liu

and his coconspirators directed individuals with no experience in the



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aluminum industry to establish the potential straw-buyers. (See 8-ER-

1758, 1762-63 (seamstress/casino dealer established aluminum

company at direction of Liu’s brother); 8-ER-1778-83 (restaurant

owner’s wife created an aluminum company at Liu’s direction).) And to

create the appearance that CZW’s U.S. aluminum sales were legitimate,

Liu used the Warehouse defendants to purchase warehouses in the

Central District of California, where they stockpiled the aluminum in

over 2 million square feet of warehouse space. (6-ER-1342-43, 1347,

1351-52, 1357, 1360-61, 1373.) Meanwhile, Liu and CZW publicly

represented the bogus aluminum sales as arms-length transactions. (6-

ER-1340, 1346-47, 1349-52, 1355; 9-ER-2198-99, 2224; 11-ER-2791-

2831; 13-ER-3407-16, 3524-31.) That was the wire fraud scheme.

           b.    Defendants commit customs fraud to avoid $1.83
                 billion in import duties

     In 2010 and 2011, the Department of Commerce (“Commerce”)

issued orders imposing anti-dumping and countervailing duties

(“AD/CVD”) of approximately 400% on imports of aluminum extrusions

from certain Chinese aluminum manufacturers, including CZW. (9-ER-

2025-43; 17-ER-4512-20; 1-SER-249-82); see 76 Fed. Reg. 30650-01.

Commerce issued the AD/CVD Orders to ensure fair competition


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between American companies and foreign industry and to counter

international price discrimination that had injured domestic industries.

(6-ER-1344.) Senior Director Alex Villanueva of the Department of

Commerce, an expert witness at trial, explained that the aluminum

extrusion duties took effect when preliminary orders were issued in

September and November 2010, importers were expected to pay the

duties “at the time of entry of the product,” and authority to collect the

duties fell “solely within the responsibility of the Department of

Commerce.” (9-ER-2022-23, 2041; see 1-SER-249-69 (first preliminary

order).)

      The AD/CVD Orders excluded from their scope “finished

merchandise containing aluminum extrusions as parts that are fully

and permanently assembled and completed at the time entry.” (17-ER-

4514, 4519.) The final orders in 2011 provided examples of such

“finished merchandise,” all of which contained parts other than

aluminum extrusions: “finished windows with glass, doors with glass or

vinyl, picture frames with glass pane and backing material, and solar

panels.” (Id.) The preliminary orders in 2010 contained the same

definition of “finished merchandise” and provided similar examples



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without making clear that all such examples contained non-aluminum

parts. (1-SER-250, 271.) Both the preliminary notices and final orders

were published through the Federal Register and online. (9-ER-2017-

18.) Defendants could have requested scope rulings to clarify whether

their products qualified as finished merchandise, but did not. (9-ER-

2020, 2023-24, 2105.)

     The AD/CVD Orders made it prohibitively expensive for

defendants and their co-conspirators to import aluminum extrusions

into the United States. Liu, in consultation with Eric Shen, determined

that creating actual finished merchandise containing non-aluminum

parts, such as ladders, would be too expensive. (9-ER-2216-19.) So,

they came up with another plan. To criminally evade the AD/CVD

duties, they tack-welded aluminum extrusions into the shape of pallets

and lied to Customs and Border Protection (“CBP”) on Forms 7501 by

reporting the “pallets” as “finished merchandise” not subject to the

AD/CVD duties. (9-ER-2216-19; 10-ER-2341-57; 1-SER-104.) The

pallets were basic, hollow aluminum blocks with slats:




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(13-ER-3245.)

     Defendants and their co-conspirators knew that the pallets were

not actual finished merchandise and that there was no market for them:

they were too heavy, too expensive, built to unusual dimensions, poorly

constructed, and had openings for mice and rats to build nests. (7-ER-

1566-67; 8-ER-1984-86; 10-ER-2535, 2540-41.) The plan, however, was

to fraudulently exploit the finished-merchandise exclusion by importing

unsellable pallets and later melting them back down into raw

aluminum that could be reprocessed into useable products. (6-ER-1358-

59; 7-ER-1572; 9-ER-2199-2200, 2221-28, 2234-38; 10-ER-2540-41.)

CZW constructed the pallets using 6000-series alloy, the type most

similar to pure aluminum, which would make it easier for defendants to

melt the pallets into raw “feed stock” aluminum for future use. (9-ER-

2198-99, 2221-22, 2224, 2236.)

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     The conspiracy implemented its plan in 2011, when Liu prepared

a test shipment of pallets, falsely declared it as “finished merchandise”

on CBP Form 7501, and sent it through the Port of Los Angeles. (9-ER-

2222-24.) As that was the busiest U.S. port of entry, CBP could only

inspect about 2% of arriving imports and relied on information in the

CBP Forms 7501. (11-ER-2650, 2652-53.) Liu’s test shipment

successfully evaded the duties imposed by the AD/CVD Orders, and he

instructed Shen to save, not sell, the pallets so they could be melted for

feed stock. (6-ER-2222-24, 2228.) Later, Liu and Shao acquired

Aluminum Shapes, a factory in New Jersey that they used to melt

100,000 pounds of CZW’s pallets in a cast house. (11-ER-2593-2602; 1-

SER-290 (email to Perfectus CEO that defendant Liu’s goal at

Aluminum Shapes was to build an “entirely new cast house”).) And

thereafter, defendants attempted to construct a $1.5 billion secondary

aluminum facility in Barstow, California that would melt and process

one million metric tons of aluminum per year, using the CZW

aluminum stockpiled in the four warehouses as feed stock. (9-ER-2199-

2200, 2205-06, 2210-36; 2-SER-304-07.)




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     Between 2011 and 2014, the conspiracy imported 2.2 million

pallets into the United States without actually selling a single one. (7-

ER-1576-79; 8-ER-1984-86.) Instead, as noted above, they orchestrated

fictitious sales in which Liu and CZW directed the Perfectus defendants

to purchase the pallets and the Warehouse defendants to store them.

The warehouses stockpiled pallets on a monumental scale:




(13-ER-3246 (Fontana Warehouse); see also 13-ER-3247-71.) By the end

of 2014, Perfectus had more than $1.5 billion of CZW’s aluminum

stockpiled in the four warehouses, even though between 2011 and 2014,

the average annual sales Perfectus reported on its tax returns was a

mere $4.2 million. (1-SER-140.)




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     By claiming to import finished merchandise, between 2011 and

2014, defendants and their co-conspirators evaded more than $1.83

billion in AD/CVD duties. (1-SER-106-07.)

     Thereafter, multiple sources confirmed that defendants’ pallets

fell within the scope of the AD/CVD Orders. Commerce confirmed that

fact in scope rulings sought by the aluminum industry in 2016 and

2017. (9-ER-2034-39; 17-ER-4521-52; 1-SER-177-203.) Senior Director

Villanueva explained that the scope rulings meant that defendants’

aluminum pallets “were always within the scope of the order[s].” (9-ER-

2026, 2029, 2036, 2040-41.) The Court of International trade reached

the same conclusion in a 2019 opinion that defendants introduced at

trial. (9-ER-2092-93, 2100-01); see Perfectus Aluminum, Inc. v. United

States, 391 F. Supp. 3d 1341 (C.I.T. 2019). The opinion explained that

“the plain meaning of the unambiguous language of the [AD/CVD]

Orders” included the Perfectus defendants’ aluminum pallets and that

the pallets did not qualify for the “finished merchandise” exclusion

because the pallets “consist entirely of aluminum extrusions.” (9-ER-

2100-01.) Defendants committed customs fraud by fraudulently

claiming the exclusion.



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            c.    Defendants continue to commit fraud and
                  launder money in service of their schemes

     CZW claimed in its annual reports that there was a substantial

U.S. demand for aluminum pallets, when, in fact, there were no

legitimate customers. (2-ER-307-12; 6-ER-1354, 1357-59; 13-ER-3311,

3327.) CZW reported that its pallet exports “grew significantly” and

that the company had “intensified efforts in developing overseas

markets” that led to an “increasing demand for these products in the

US.” (See, e.g., 15-ER-3792, 3807; see also 7-ER-1581-82 (CZW

employee describing aluminum pallets as CZW’s “biggest selling item”).)

     For the years 2011 through 2014, Liu and CZW reported to

shareholders that 3.9%, 8.32%, 11.8%, and 11.67% of CZW’s sales,

respectively, were to customers in the United States. (14-ER-3570

(2011); 14-ER-3684 (2012); 15-ER-3806 (2013); 15-ER-3945 (2014).)

During those years, CZW continued to falsely report virtually no sales

to related parties and never once told shareholders that CZW’s exports

were to the Perfectus defendants, that the Warehouse defendants were

stockpiling the commercially useless aluminum, that there was no real

market for the pallets, or that Liu exercised absolute control over the

Perfectus and Warehouse defendants. (See, e.g., 14-ER-3646; 14-ER-


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3740-70; 15-ER-3874-3908; 15-ER-4008-47 (CZW 2011 through 2014

related-party transaction disclosures).) Nor did CZW disclose that

Perfectus was purchasing aluminum from CZW at Liu and CZW’s

direction, and that CZW was funding those purchases. (Id.) Thus,

between 2009 and 2014, CZW reported immense U.S. revenue that,

unknown to shareholders, consisted of the fraudulent aluminum sales

to Perfectus. (1-SER-140.) Meanwhile, Perfectus, whose only supplier

was CZW, spent an extraordinary amount of money on CZW’s pallets,

all while its own revenue dwindled to near zero. (Id.; 8-ER-1982-87; 9-

ER-1989-91.)

     Without sales of its own, and with no ability to sell CZW’s

aluminum, Perfectus needed money to keep the wire and customs fraud

schemes going. Liu and Chen laundered hundreds of millions of dollars

through Hong Kong shell companies to Perfectus, which used that

money to make fraudulent aluminum purchases from CZW, smuggle

pallets into the United States, and maintain the warehouses. (11-ER-

2710-71; 1-SER-139, 286-89; 2-SER-296-97, 299-303, 319-25.)

     Starting in 2015, allegations began to surface in the investor

community that CZW’s aluminum pallet sales in the United States were



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to companies that Liu controlled and that Liu was concealing the

aluminum pallets in large warehouses in the U.S. and Mexico. (7-ER-

1587-88; 1-SER-156-70.) Following those allegations, Liu and CZW

made “clarification announcements” to shareholders, again falsely

stating that the aluminum sales to Perfectus were arms-length

transactions and that Liu had no connection to Perfectus. (1-SER-156-

76.) In fact, however, Liu controlled and owned Perfectus, visited 30-35

times in three years, and appointed a new Perfectus CEO. (7-ER-1571-

72; 8-ER-1890-91.) That CEO understood that Liu owned Perfectus. (8-

ER-1891.) Later, to conceal their stockpiling, Liu ordered the pallets in

the warehouses and Aluminum Shapes to be exported to a factory in

Vietnam called Global Vietnam Aluminum, which Liu also beneficially

owned and hid from investors. (11-ER-2601-02 (Otterbein); 12-ER-

2845-50 (Loh); 1-SER-171 (CZW clarification announcement falsely

asserting that “GVA is a third party independent of Chairman Liu and

the Company”).)

     In September 2017, federal agents executed a search warrant on

Perfectus in Ontario, California, which was also the location of

Doubleday. (8-ER-1794-95.) In the days following the search warrant,



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Liu’s wife Zhijie Wang, who had been the CEO of all four Warehouse

defendants since 2013, ordered employees to shred documents and

withhold information from the government; she then filed a series of

false declarations in federal court. (11-ER-2862-63 (Chen); 11-ER-2867-

74 (Li); 12-ER-2929-42; 1-SER-225-40; 13-ER-3181-84.)

     2.    Indictment and defendants’ failure to appear

     In May 2019, a grand jury indicted defendants under 18 U.S.C.

§ 371 for conspiring to commit: wire fraud, customs fraud, and

promotional money laundering. (6-ER-1337-77.) The indictment also

charged substantive wire fraud, 18 U.S.C. § 1343; customs fraud, 18

U.S.C. § 545; and money laundering, 18 U.S.C. § 1956(a)(2)(A). (6-ER-

1378-84.) There were 24 counts total. (6-ER-1337-84.)

     Defendants were summonsed to appear in August 2019 but

ignored the summonses while actively litigating related forfeiture

matters. (1-SER-2-14.) Accordingly, the district court issued a $5.8

million contempt judgment against them. (1-SER-15-21; Presentence

Reports 16.) Defendants still did not appear until nearly eight months

later. (Presentence Reports 16.)




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     3.     Trial

     Trial began on August 10, 2021 and spanned nine days. Through

the testimony of 28 witnesses and the introduction of hundreds of

exhibits (see 1-SER-40-97), the government proved the facts recounted

in the preceding subsections. The jury convicted defendants of all

counts. (1-ER-111-52.)

     4.     The initial PSRs for the Warehouse defendants

     The Probation Office (“Probation”) issued initial presentence

investigation reports for the Warehouse defendants in January 2022.

The PSRs were all nearly identical. (See Presentence Reports 52-72

(Scuderia), 73-93 (Doubleday), 94-114 (Von Karman), 115-35

(Production Avenue).) Probation found that the Mandatory Victim

Restitution Act (MVRA) applied and that defendants conspired to

evade, and evaded, $1,836,244,745.03 in customs duties. (Presentence

Reports 15 ¶¶ 53, 55; id. 63-64 ¶¶ 53, 55; id. 105-06 ¶¶ 53, 55; id. 126-

27 ¶¶ 53, 55.)

     Probation also reported that Liu owned and controlled all four

warehouses. (Presentence Reports 66 ¶ 68; id. 81 ¶ 38; id. 85-86 ¶ 57.)

Liu used his agents—first Shen and later Wang—to exercise control.



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(Id.) Nominally, Scuderia Capital Partners, Inc., a Delaware

corporation, was the owner of the four Warehouse defendants.

(Presentence Reports 66 ¶ 73; id. 88 ¶ 73; id. 108 ¶ 72; id. 130 ¶ 77.)

The government provided Scuderia Capital’s tax returns for 2014

through 2016. (Presentence Reports 67 ¶ 79.) The 2014 return valued

the warehouses with ending amounts of:

         $43,561,433 for the 600,000-square-foot Scuderia Warehouse

            (located at 14660 Innovation Drive in Riverside, California)

            (id. 67 ¶¶ 74, 79);

         $33,676,597 for the 400,000-square-foot Doubleday

            Warehouse (id. 88 ¶¶ 74, 79);

         $32,757,155 for the 260,000-square-foot Von Karman

            Warehouse (id. 109 ¶¶ 73, 78); and

         $52,055,531 for the Production Avenue Warehouse (id. 130

            ¶ 78).

None of the returns, however, showed any income from operation of the

warehouses. Defense counsel claimed that each warehouse had tenants

but that each defendant was not involved in managing the property or

its occupants. (Presentence Reports 67 ¶ 75; id. 88 ¶ 75; id. 109 ¶ 74;



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id. 130 ¶ 74.) Defense counsel further asserted that each defendant had

no assets apart from its warehouse. (Presentence Reports 69 ¶ 87; id.

90 ¶ 87; id. 111 ¶ 86; id. 132 ¶ 86.)

      Probation used public tax assessment records to estimate the

value of each warehouse as:

          $44,934,988 for the Scuderia Warehouse (Presentence

            Reports 67-68 ¶ 80);

          $36,521,176.74 for the Doubleday Warehouse (id. 89 ¶ 80);

          $23,518,695.52 for the Von Karman Warehouse (id. 109-10

            ¶ 79); and

          $56,239,560.35 for the Production Avenue Warehouse (id.

            131 ¶ 79).

Those valuations were premised largely on (and nearly matched)

defendants’ own valuations, as documented in their tax returns.

     Probation recommended that each Warehouse defendant pay the

taxable value of its warehouse toward restitution within 90 days of

sentencing and then continue to pay restitution at 10% of the

defendant’s gross revenue but not less than $100 a month.

(Presentence Reports 68 ¶¶ 80-81; id. 89 ¶¶ 81-82; id. 110 ¶¶ 80-81; id.



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131 ¶¶ 80-81.) Thus, Probation recommended that the collective

amount of restitution to be paid by the Warehouse defendants within 90

days of sentencing was over $161 million.

     Probation also found that all of the Warehouse defendants

operated primarily for criminal purposes and primarily by criminal

means. (Presentence Reports 67-68 ¶ 86; id. 89-90 ¶ 86; id. 110-11 ¶ 85;

id. 131-32 ¶ 85.)

     5.     The government’s initial sentencing position

     The government agreed with Probation that the total amount of

restitution owed to CBP for the evasion of customs duties was

$1,836,244,745 and that each Warehouse defendant should be jointly

and severally liable for the full amount. (3-ER-507.) The government

also agreed that each Warehouse defendant should be ordered to pay

the tax-assessed value of its warehouse within 90 days of sentencing.

(3-ER-508-09.) The government argued, however, that the four

warehouses were worth far more than their tax-assessed values and

that any sale proceeds in excess of those amounts should be applied to

restitution. (3-ER-508.)




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     The government further argued that restitution for the entire

$1,836,244,745 should be due and payable immediately, which would

ensure that any additional proceeds be applied to restitution. (3-ER-

508 & n.4.) One reason the government believed the defendants

collectively could pay the full amount of restitution was its position that

the Perfectus defendants had over $1.5 billion in assets that they had

not reported. (3-ER-509-10.) Furthermore, the government agreed with

the PSR that the Warehouse defendants were criminal-purpose

organization. (3-ER-508-09.) The government therefore requested that

the district court impose a fine sufficient to divest each defendant of its

assets. (Id.)

     6.     The Warehouse defendants’ objections to the PSRs

     The Warehouse defendants filed various objections to the PSRs.

(See 3-ER-575-614.)3 They argued against restitution generally (3-ER-

585-96), “respectfully ask[ed]” the district court “to exercise its

discretion and apportion liability for any restitution owed” (3-ER-608),




     3 Each Warehouse defendant filed objections, but their briefs were

nearly identical. (4-ER-616-735.) The government cites to the
Production Avenue objections as the exemplar.


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objected to statements that they were criminal-purpose organizations

(3-ER-609-12) and “non-operational (3-ER-613), asserted that

Probation’s proposed payment schedule “would divest them of all their

assets within 90 days of sentencing” (3-ER-609), and requested that if

restitution were ordered, the court should “require payments based on a

reasonable and periodic payment plan” after an “evidentiary hearing”

(3-ER-584-85). The Warehouse defendants did not, however, address

the tax-assessed value of the warehouses or the amount of any rent or

income they were receiving, explain why they did not have sufficient

assets or income to pay a significant amount of restitution, or propose a

specific payment plan.

     Thereafter, the Warehouse defendants filed responses to the

government’s sentencing position. (3-ER-445-80.) Therein, they

disputed the government’s proffer that their four warehouses were

worth far more than their tax-assessed value (3-ER-476) and suggested

that if the court did impose restitution or a fine, “a reasonable payment

schedule be ordered” (3-ER-479 n.2). Once again, they did not propose

any specific payment schedule, arguing instead that the district court




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should hold “an evidentiary hearing” to determine “the appropriate

payment schedule for each defendant.” (3-ER-479.)

     7.    The government’s further argument

     The government filed a supplementary brief that addressed

defendants’ arguments against restitution and joint liability and

reiterated that defendants had available assets, including the four

warehouses, and that the entire restitution amount should be due

immediately. (3-ER-403-24.)

     Thereafter, the government filed two independent assessments of

the actual market value of each warehouse. (3-ER-387-402.) The

assessments were produced by commercial real estate companies and

were based on the size of the warehouses, their locations, and other

market data. The estimates were consistent. (3-ER-389-90.) Voit Real

Estate Services estimated the combined value of the warehouses to be

$909 million to $1.027 billion. (Id.) Colliers’s combined estimate was

$994.028 million. (Id.)

     8.    The revised PSRs

     In April 2022, Probation issued Revised Presentence Reports and

Addenda for the Warehouse defendants. (Presentence Reports 136-63.)



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      Probation addressed one government objection at issue in this

appeal,4 acknowledging that its use of tax assessments was “not the

best measure of the [w]arehouses’ fair market value as it provides a

very low estimate.” (Presentence Reports 242.) Probation admitted it

did not have the tools to evaluate the government’s valuations and

suggested that the “Court may want to consider an evidentiary hearing

as to this issue.” (Id.)

      Probation also addressed ten objections by the Warehouse

defendants and rejected nearly all of them. (Presentence Reports 243-

47.) Probation revised the PSRs to clarify that the Warehouse

defendants still held title to their respective warehouses and that “non-

operational” meant the warehouses were no longer housing the

aluminum pallets or engaged in other business operations.

(Presentence Reports 247.)




      4 The government’s other objections related to the amount of

restitution owed to CZW’s institutional investors based on the wire
fraud scheme. The district court did not order any restitution for those
investors, and the government does not appeal that ruling.

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     9.     The sentencing hearing

     The district court sentenced all six defendants on April 11, 2022 at

a hearing that lasted little more than an hour. (1-ER-49-98.)

            a.    Defendants’ arguments

     At sentencing, the Perfectus defendants again argued against

restitution generally and asserted that if any restitution were owed, it

should be limited to the $38,742,686.10 in unpaid customs duties listed

in counts 11-17. (1-ER-53-58.) They also claimed that they lacked the

ability to pay because they ceased operations in 2015, their only asset

was the aluminum pallets that the government had seized, and the $60

million value of the seized pallets should count toward any fine or

restitution. (1-ER-58-61.)

     The Warehouse defendants did not address the amount of their

assets or income or their ability to pay restitution. They echoed the

arguments that no restitution should be awarded (1-ER-62-63), argued

that the amount of any restitution under the substantive counts was

limited to about $34 million (1-ER-65), and asserted that the actual

amount of restitution should be even less because the pallets were

“scrap” (1-ER-66). They further argued that they played a smaller role



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in the scheme and therefore proposed to apportion restitution so that

the Perfectus defendants would owe almost all of it. (1-ER-66-73.) The

Warehouse defendants also claimed that they were not “criminal

purpose” organizations and therefore should not be divested of all of

their assets. (1-ER-74-75.)

            b.    The government’s arguments

     The government argued that the court should order all six

defendants to pay $1.84 billion in restitution immediately or within 90

days. (1-ER-76.) The government addressed the defense arguments

against restitution generally (1-ER-77-80) and then argued that the

court should order joint and several liability for the Warehouse

defendants because Liu was the architect of the entire scheme and all

the corporate defendants played an integral part in it (1-ER-80-81).

The government further noted that the court could order non-MVRA

restitution or a fine if for any reason the court did not order restitution

under the MVRA. (1-ER-82-83.)

     The government concluded its argument by pointing to “the new

valuation of the warehouses of 900 million to 1 billion” and reiterated

that “all six defendants should be ordered to pay 1.84 billion in



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restitution immediately or within 90 days to give them sufficient time

to start a sale of those properties.” (1-ER-83.)

            c.    The district court’s order

     The district court agreed with the government that the amount of

restitution owed to CBP was $1,836,244,745 based on the loss of duties

it should have received. (1-ER-85-86, 92.) The court found all

defendants jointly and severally liable for that amount. (Id.) The court

did not award restitution to the foreign investors resulting from

defendants’ wire fraud. (1-ER-85.)

     Then, without prompting, the district court announced that each

corporate defendant need only “make nominal monthly payments of at

least ten percent of the defendant[] organization’s gross revenue, but

not less than $100, whichever is greater.” (1-ER-92-93; see also 1-ER-86

(same order for Perfectus defendants).) The court stated that it “f[ound]

that the defendant organizations’ economic circumstances do not allow

for either immediate of future payment of the amount ordered.” (1-ER-

93; see also 1-ER-86-87 (same explanation for Perfectus defendants).)

The court also waived interest on the restitution and all criminal fines.

(1-ER-93-94.) Although the court ordered a partial immediate



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restitution payment of $60,141,984.29, it then clarified that that was

the value of the pallets the government already had seized. (1-ER-87,

91.) At no point during the hearing did the court mention the

Warehouse defendants’ assets, address the parties’ dispute regarding

the value of the warehouses, or explain why the Warehouse defendants’

economic circumstances only permitted nominal payments. (See 1-ER-

49-98.)

     At the end of the hearing, the lead prosecutor stated the

government’s understanding that it would “be able to enforce the

immediate payment barring some other order of the Court.” (1-ER-97.)

The court responded that the prosecutor “was making a statement for

the record” and that the court “didn’t make any order on it.” (1-ER-98.)

     10.    The government’s Rule 35 motion

     Eleven days after sentencing, the government moved to correct

the sentence under Federal Rule of Criminal Procedure 35(a), arguing

that the district court’s restitution schedule for the Warehouse

defendants was “clear error.” (1-SER-100.) Specifically, the court

clearly erred in finding that the Warehouse defendants’ economic

circumstances did not allow for either immediate or future payment of



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full restitution. (Id.) The government asked the court to correct its

sentence by ordering a total immediate partial payment by the four

Warehouse defendants of $894.436 million (id.)—i.e, the low-end

market value of the four warehouses.

     The district court denied the motion, stating that the government

had not afforded it sufficient time to rule within the 14-day period to

correct a sentence under Rule 35. (1-SER-104-05.)

                                       IV

                      SUMMARY OF ARGUMENT

     Defendants engaged in an international conspiracy to swindle the

United States out of more than $1.83 billion. Defendants’ claims are

meritless, and any error was harmless in light of the overwhelming

evidence.

     First, the district court correctly denied defendants’ motion to

dismiss the indictment because the government charged domestic

applications of the wire fraud statute originating or terminating in the

Central District of California. Furthermore, while not required, the

charged wires were central to defendants’ scheme. The indictment also




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properly stated the elements of customs fraud and did not need to add

an extra element regarding the statute’s purpose.

     Second, the district court permissibly exercised its broad

discretion by declining to ask the dozens of extra voir dire questions

defendants proposed. Defendants provided no explanation or argument

for those questions, and there was no need for them when the voir dire

and instructions adequately safeguarded against prejudice and there

was no significant likelihood that prejudice might infect the trial of six

corporate entities.

     Third, the district court did not err, plainly err, or abuse its

discretion in instructing the jury. There was no evidence whatsoever

that would have supported an entrapment-by-estoppel instruction and

no basis for a mere-presence instruction in a case that was not about

presence at all. The law supported the court’s scope-ruling and

conspiracy instructions, and any error in those instructions was not

prejudicial.

     Fourth, the district court neither abused its discretion nor plainly

erred in its evidentiary rulings. All of the evidence defendants

challenge (some of which was admitted without objection) constituted



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co-coconspirator statements or business records, and none of that

evidence was material to the verdict anyway.

     Fifth, the jury rationally found defendants guilty of wire and

customs fraud. Viewed in the light most favorable to the government,

the evidence was overwhelming that defendants participated in a

massive international conspiracy. Their contrary claims are nothing

but a series of undeveloped and baseless attempts to transform the

record and the law.

     Sixth, nothing about the government’s proof at trial plainly, or

even remotely, resembled a constructive amendment or fatal variance

from the indictment. The government advanced the exact same theory

in the indictment and at trial: defendants’ “pallets” did not qualify for

the “finished merchandise” exclusion because they were merely tack-

welded aluminum extrusions with no commercial use or market. The

fact that the pallets were made entirely of aluminum merely added to

the proof that they were fake products created only to evade duties.

     Seventh, the restitution award was correct. The MVRA requires

defendants to pay restitution in fraud cases, there was uncontroverted




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evidence that the restitution amount exceeded $1.83 billion, and all

defendants were convicted of conspiracy to commit customs fraud.

     Accordingly, this Court should affirm defendants’ convictions and

restitution amount.

                                      ***

     On cross-appeal, however, the district court committed both

procedural and substantive errors in ordering a nominal restitution

payment schedule. The court failed to address disputes regarding the

value of defendants’ warehouses, whether defendants qualified as

criminal purpose organizations, and the propriety of requiring the sale

of assets to satisfy the restitution award. The court then imposed a

restitution payment schedule that defendants never even proposed

instead of holding the evidentiary hearing they requested to determine

an appropriate payment schedule. In so doing, the court violated the

MVRA by failing to hold defendants to their burden of demonstrating

an inability to pay and clearly erred in finding that the Warehouse

defendants could afford only nominal restitution payments when, in

fact, they each owned enormously valuable assets. Those errors




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effectively erased the only punishment these defendants sustained for

their massive fraud.

     Accordingly, this Court should vacate the restitution payment

schedule for the Warehouse defendants and order a limited remand for

the district court to assess the value of their assets before determining

what amount of restitution should be paid immediately.

                                        V

                                ARGUMENT

A.   The District Court Did Not Err in Denying Defendants’
     Motion to Dismiss

     1.     Standard of review

     The denial of a pretrial motion to dismiss is reviewed de novo,

United States v. Linehan, 56 F.4th 693, 698 (9th Cir. 2022), and this

Court may affirm on any ground supported by the record, United States

v. Nichols, 464 F.3d 1117, 1122 (9th Cir. 2006).

     2.     The wire fraud counts were domestic applications of
            the statute

     The indictment properly charged nine substantive counts of wire

fraud: Counts 2-10.

     Although there is a presumption that statutes do not apply

extraterritorially, RJR Nabisco, Inc. v. European Cmty., 579 U.S. 325,

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335 (2016), there is no need to determine whether that presumption has

been overcome if the statutory application alleged is domestic in nature,

United States v. Hussain, 972 F.3d 1138, 1142-43 (9th Cir. 2020). Here,

each wire fraud count charged a wiring into or out of the Central

District of California: Counts 2 and 8 were premised on emails to and

from a co-defendant in the Central District, and Counts 3, 4, 5, 6, 7, 9,

and 10 were premised on transfers of millions of dollars from two bank

accounts in the Central District. (6-ER-1379-80; see also 6-ER-1341

(noting that the two bank accounts were opened at Cathay Bank in the

City of Industry, California within the Central District).

     That begins and ends the analysis. “Since each count of wire

fraud involved the use of a domestic wire, each conviction is a domestic

application of the statute.” Hussain, 972 F.3d at 1145.

            a.    It makes no difference whether the wires were
                  merely incidental

     Defendants claim that the charged domestic wires were merely

“incidental” to the overall scheme (AFB-24-26), but that is irrelevant.

Again, a count need only involve the use of a domestic wire. Hussain,

972 F.3d at 1145. That simple rule is founded on simple logic: (1) a

domestic application occurs when the conduct relevant to the statute’s


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focus occurred in the United States; and (2) the focus of the wire fraud

statute is the misuse of the wires. Id. at 1143-45.

     Defendants incorrectly claim that Hussain endorsed a “merely

incidental” test (AFB-24). In a footnote, this Court stated that the

Second Circuit requires that the use of the wires be “‘a core component

of the scheme to defraud’” Hussain, 972 F.3d at 1144 n.2 (quoting

Bascuñán v. Elsaca, 927 F.3d 108, 122 (2d Cir. 2019)), which, in turn,

the First Circuit interpreted to necessitate a “‘merely incidental’”

analysis where “‘a foreign defendant is alleged to have committed wire

fraud against a foreign victim,’” Hussain, 972 F.3d at 1144 n.2 (quoting

United States v. McLellan, 959 F.3d 442, 470 n.7 (1st Cir. 2020)). But

this Court did not adopt any such test, holding instead that where a

wire fraud count “involved the use of a domestic wire,” the count “is a

domestic application of the statute.” Hussain, 972 F.3d at 1145. And

Hussain had no occasion to consider any exception because “Hussain

defrauded a domestic victim.” Id. at 1144 n.2.

     In any event, even if a merely-incidental exception might apply

where a “foreign defendant committed wire fraud against a foreign

victim” (AFB-24), this is no such case. Defendants themselves are not



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foreign; all six of them were formed in the United States and operated

in California. (6-ER-1340-43; Presentence Reports 10 ¶¶ 31-37.) On

top of that, the scheme defrauded the United States (6-ER-1346-48,

1357-59), not merely foreign victims, and there were American victim-

investors too, as the district court knew when it ruled on the motion to

dismiss (3-ER-427; 1-SER-32-39). Because this fraud involved both

domestic defendants and domestic victims, there is no need to consider

a merely-incidental exception to the wire fraud statute.

            b.    The wires were central to the fraud scheme

     Assuming counterfactually that a merely-incidental test exists

and applies, it was satisfied here because the charged wires were “a

core component of the scheme to defraud.” Hussain, 972 F.3d at 1144

n.2. Specifically, Counts 2–10 related to payments and financial

support from CZW and its surrogates to the Perfectus defendants. (6-

ER-1379-80.) CZW used such payments to fraudulently inflate its

revenue and hid the fact that they were related-party transactions. (6-

ER-1380.) That was the very nature of the scheme.

     Those circumstances were a far cry from the only (out-of-circuit,

district court) case defendants cite involving an impermissibly



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extraterritorial application of the wire fraud statute: United States v.

Prevezon Holdings, Ltd., 122 F. Supp. 3d 57 (S.D.N.Y. 2015) (AFB-26).

In Prevezon, the government “pleaded only one domestic contact by the

perpetrators of the larger fraud”—a single wire transfer between

accounts held in foreign countries that was routed through New York.

122 F. Supp. 3d at 71-72. Here, these U.S.-based defendants

participated in a scheme that entailed fraudulent imports to the United

States. Both the scheme and the charged wires were amply domestic.

     3.     The indictment properly alleged customs fraud

     Counts 11 through 17 of the Indictment alleged that defendants

passed false and fraudulent papers through a customhouse, in violation

of 18 U.S.C. § 545, by falsely claiming that AD/CVD duties were not

owed on their aluminum extrusions welded into pallets. (6-ER-1381-

82.) There was nothing deficient about those charges.

     An indictment must allege “the elements of the offense charged.”

United States v. Lazarenko, 564 F.3d 1026, 1033 (9th Cir. 2009); see also

Fed. R. Crim. P. 7(c)(1) (requiring a “plain, concise, and definite written

statement of the essential facts constituting the offense charged”).

Section 545, as charged here, has four elements: (1) the defendant



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knowingly passed a Form 7501 through a U.S. customhouse; (2) the

defendant knew that the Form 7501 was false, forged, or fraudulent;

(3) the defendant acted willfully with intent to defraud the United

States; and (4) the Form 7501 had a natural tendency to influence, or

was capable of influencing, action by the United States. Ninth Circuit

Model Jury Instruction No. 21.3. Defendants do not dispute that the

indictment alleged those elements, nor do they dispute that the

government proved them at trial.

     Instead, defendants improperly attempt to add an extra element

to the statute. See United States v. Davis, 597 F.2d 1237, 1238-39 (9th

Cir. 1979) (rejecting attempt to add an element to Section 545). They

claim that the indictment had to allege that they sold their smuggled

aluminum in the United States. (AFB-27-28.) Not so. Defendants’

position has no basis in the text of the statute, and, in fact, this Court

rejected the claim almost 50 years ago, holding that Section 545 is not

limited to prosecutions in which the defendant smuggled merchandise

“for resale or other commercial purposes.” United States v. Hall, 559

F.2d 1160, 1165 (9th Cir. 1977). “There is nothing in the legislative




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history, or in any case, which supports this claim,” and it is foreclosed

by “the expansive language of the statute itself.” Id.

     Defendants cite two Federal Circuit cases enumerating the

purpose of antidumping laws (AFB-28), but the harm intended to be

addressed by AD/CVD Orders is not an element of Section 545. Indeed,

as defendants’ brief later acknowledges, “[t]he offense of passing false

papers through a customshouse is complete at the time of importation.”

(AFB-59.) They and their co-conspirators violated Section 545 by “the

submission of false, forged or fraudulent invoices.” United States v.

Robinson, 147 F.3d 851, 853 (9th Cir. 1998). Nothing more was

required.

B.   The District Court Permissibly Exercised Its Discretion in
     Conducting Voir Dire

     1.     Procedural and factual background

     Before trial, the parties filed 23 joint proposed voir dire questions.

(5-ER-990-94.) Defendants added another 38 proposed questions,

including several with multiple subparts. (5-ER-995-98.) Defendants’

additional proposed questions were wide-ranging, including questions

about COVID-19, prior jury service, language barriers, jurors’

investment strategies and business experience, the burden of proof, the


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presumption of innocence, and prejudice against China, Chinese

nationals, or corporations generally. (Id.) Many of those proposed

questions were argumentative, and defendants did not state any basis

for any of them. (See id.)

     After the district court conducted its initial voir dire and solicited

challenges for cause, defense counsel did not request any other specific

questions or explain why any additional questions might be warranted.

(7-ER-1417-1462.) Counsel stated only that “[t]here were a number of

questions that we requested that the Court consider.” (7-ER-1462.)

The district court responded, “[t]o the extent I covered them if

appropriate,” and counsel replied: “Thank you.” (Id.) Jury selection

proceeded and replacement jurors were questioned without any further

comment or objection by the defense regarding the scope of voir dire. (7-

ER-1462-1511.)

     All selected jurors swore to return a verdict according to the

evidence and instructions of the court. (7-ER-1483, 1497-98.) Before

opening statements, the district court instructed jurors that, “[y]ou

must decide this case solely on the evidence and the law before you and

must not be influenced by any personal likes or dislikes, opinions,



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prejudices or sympathy.” (7-ER-1502.) The court gave the same sort of

instruction after closing arguments, adding that jurors must “also not

be influenced about any person’s race, national ancestry, or economic

circumstances.” (12-ER-3117-18.)

     Although defendants now claim that their trial was infused with

anti-Chinese bias, they did not object to any of the arguments,

demonstratives, or testimony they now cast as “xenophobic.” (AFB-21;

see 7-ER-1513, 1626; 8-ER-1697; 12-ER-3020.)

     2.     Standard of review

     The sufficiency of the district court’s voir dire questions is

ordinarily reviewed for abuse of discretion. United States v. Anekwu,

695 F.3d 967, 978 (9th Cir. 2012). But where defendants fail to state

any reasons for their proposed voir dire questions, plain error review is

warranted. See United States v. Gomez, 2021 WL 3204461, at *1 (9th

Cir. 2021) (unpublished); United States v. Blosvern, 514 F.2d 387, 389

(9th Cir. 1975). Unpreserved objections to argument or evidence are

also reviewed for plain error. Anekwu, 695 F.3d at 973, 985.




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      3.    The district court was not required to ask additional
            voir dire questions

      “The district court has considerable discretion in determining the

manner and scope of voir dire,” United States v. Toomey, 764 F.2d 678,

682 (9th Cir. 1985), and to ensure that voir dire is conducted “with

reasonable expedition,” United States v. Jones, 722 F.2d 528, 529 (9th

Cir. 1983). This “considerable discretion” extends to the district court’s

decision “to accept or reject proposed voir dire questions and, as long as

it conducts an adequate voir dire, its rejection of specific questions is

not error.” United States v. Medina Casteneda, 511 F.3d 1246, 1250

(9th Cir. 2008).

      “While it is an abuse of discretion to fail to ask questions

reasonably sufficient to test jurors for bias or partiality, the trial court

may refuse questions which are tied to prejudice only speculatively.”

Anekwu, 695 F.3d at 978 (quotation marks omitted). Here, defendants’

claim that the district court was required to test for anti-Chinese bias

(AFB-18-20) is rooted in nothing but speculation and generalities. The

fact that anti-Chinese bias exists in the world or was exacerbated by the

pandemic does not mean that every trial involving China or Chinese

nationals necessitated supplementary voir dire. Defendants fail to


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show that there was a constitutionally “significant likelihood that racial

prejudice might infect” this trial. Ristaino v. Ross, 424 U.S. 589, 598

(1976); see id. at 590, 597-98 (specific voir dire questions regarding

racial bias not required in murder trial involving white victim and

Black defendants). Their argument about prejudices that exist in the

world would reduce to “a requirement of universal applicability,” which

the Supreme Court has rejected. Id. at 596.

     The circumstances of this specific trial were in fact less likely to

trigger a biased verdict. No member of the Chinese government, foreign

agent of China, or any Chinese state-run entity was a defendant or a

witness. There was not even a Chinese person on trial. The only

defendants were six U.S. corporations that operated in California. And

though certain co-conspirators were of Chinese origin, so were many of

the government’s key witnesses. (See, e.g., 8-ER-1750-51 (Suk Luo); 8-

ER-1886-87 (Mark Li) ; 9-ER-2140-41 (Po-Chi Eric Shen); 10-ER-2340-

41 (George Wang).) At no point did the evidence plausibly stoke bias

against Chinese nationals, nothing in the record suggests that any of

the jurors actually were biased, and, needless to say, nobody ever

referred to this case as “United States v. China” (AFB-21). Defendants’



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empty aspersions and baseless speculation do not establish reversible

error. Anekwu, 695 F.3d at 978.

     Defendants’ failure even to articulate their theory of bias before

the completion of voir dire further undermines their claim on appeal.

“If there are particular questions that counsel deems essential, and

such that refusal to put them may be reversible error, counsel must tell

the court so, and state his reasons, before the examination of the jurors

is completed.” Blosvern, 514 F.2d at 389. Here, by submitting a very

lengthy list of questions without stating any reasons or highlighting

any questions believed to be essential, defendants laid “a trap” for the

district judge, denying “him a fair chance to avoid error.” Id. Especially

on plain-error review, the claim fails.

     Nor can defendants premise their challenge to the voir dire on

snippets of the trial record to which they never objected. (See AFB-21.)

Although defendants claim that Liu was described as an “emperor,” in

fact, it was Liu who characterized himself using that title, demanding

that a Perfectus sales manager “think of him as the emperor and the

[sales manager] as a servant.” (7-ER-1556, 1586.) There was nothing

wrong with describing Liu using a term he used to describe himself,



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and, in any event, the mere fact that a word may have tangential

historical or cultural salience is far too thin a reed to support the claim

that the jury might have “render[ed] a verdict against the country of

China” (AFB-21).

     Words like “royalty” and “entourage”—which were apparently

uttered once by one witness (AFB-21 (citing 8-ER-1697))—are an even

thinner basis upon which to allege bias. Nothing about those words

remotely reflects anti-Chinese sentiment. Nor was there anything

wrong with using an image of the map of China with the color and stars

of the Chinese flag on slides depicting the movement of aluminum and

funds between China and the United States. (See, e.g., 2-ER-219.)

Defendants did not object to that pictorgram at trial, and their belated

attempt to imbue it with prejudicial meaning is not well taken. Cf.

Donnelly v. DeChristoforo, 416 U.S. 637, 647 (1974) (courts do not

lightly infer that prosecutors intend the most damaging meaning one

can attribute to an ambiguous remark). And, again, speculative

prejudice does not necessitate supplementary voir dire.

     Finally, the district court took steps to safeguard against

prejudice. Before voir dire, the court informed prospective jurors that



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(1) the indictment charged defendants with fraudulently inflating the

value of a Chinese company’s stock and defrauding U.S. customs, (2) the

jury would be tasked with determining the facts “from and only from

the evidence that’s received in the trial,” and (3) jurors would be

required to “follow the law.” (7-ER-1420-21, 1426-29.) During voir dire,

the court questioned prospective jurors to ensure they could be fair and

impartial, asking numerous venirepersons to affirm that they could

listen to both sides and decide the case solely based on the facts and the

law as instructed. (See 7-ER-1430-62, 1467-79, 1484-1496.) After voir

dire, the court instructed the jury—both at the beginning and end of

trial—not to be influenced by personal likes, dislikes, or prejudices. (7-

ER-1502; 12-ER-3117-18.) Altogether, the court’s questions and

instructions adequately protected against bias. See Medina Casteneda,

511 F.3d at 1250 (district court adequately safeguarded against a

verdict based on propensity evidence “by asking a more general

question regarding the juror’s ability to follow the law in accordance

with the judge’s instruction”). The district court did not abuse its broad

discretion or plainly err in conducting voir dire.




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C.   The District Court Did Not Err, Plainly Err, or Abuse Its
     Discretion In Instructing the Jury

     1.     Standard of review

     Ordinarily, a district court’s formulation of jury instructions is

reviewed for abuse of discretion, and whether the instructions

adequately covered defense theories is reviewed de novo. United States

v. Flucas, 22 F.4th 1149, 1154 (9th Cir. 2022). However, plain-error

review applies where a party failed to preserve its instructional

challenge, United States v. Backman, 817 F.3d 662, 665 (9th Cir. 2016),

or failed to comply with Federal Rule of Criminal Procedure 30, see

United States v. Hofus, 598 F.3d 1171, 1175 (9th Cir. 2010).

     2.     The district court did not err in declining an
            “entrapment-by-estoppel” instruction

     Entrapment by estoppel is an affirmative defense for which a

defendant “must show that (1) an authorized government official,

empowered to render the claimed erroneous advice, (2) who has been

made aware of all the relevant historical facts, (3) affirmatively told the

defendant the proscribed conduct was permissible, (4) that the

defendant relied on the false information, and (5) that the reliance was

reasonable.” United States v. Schafer, 625 F.3d 629, 637 (9th Cir. 2010)

(cleaned up). Defendants are not entitled to an entrapment-by-estoppel

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instruction and may not present that defense to the jury unless they

present “prima facie evidence” to satisfy the elements. Id. at 638.

     The district court here correctly rejected an entrapment-by-

estoppel instruction. This case involved no “affirmative misleading” by

a government official who had “authority to bind the federal

government to an erroneous interpretation of federal law.” United

States v. Brebner, 951 F.2d 1017, 1025-26 (9th Cir. 1991). No federal

official, let alone an official from Commerce—the sole agency authorized

to determine the scope of duties (AFB-39; 9-ER-159; 10-ER-2637)—told

defendants that their pallets were outside the scope of the AD/CVD

Orders before defendants violated those orders by importing 2.2 million

pallets without paying duties. Defendants could have requested a scope

ruling (9-ER-2023) but did not.

     Nor was there any evidence that defendants “relied on” any such

purported advice. Schafer, 625 F.3d at 637. Shen, the CEO of all four

Warehouse defendants until 2013, testified that he did not believe the

pallets were finished merchandise. (9-ER-2223-24.) And any contrary

belief would not have been “reasonable,” Schafer, 625 F.3d at 637,

because the AD/CVD Orders listed examples of finished merchandise,



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all of which were marketable products that contained parts other than

aluminum extrusions. As such, defendants “clearly” should have been

on notice that any purported authorization to violate the AD/CVD

Orders “was incorrect, or at least demanded further inquiry.” United

States v. Lynch, 903 F.3d 1061, 1077 (9th Cir. 2018). Defendants made

no further inquiry because their goal was to break the law, not comply

with it. “[R]easonable reliance occurs if a person sincerely desirous of

obeying the law would have accepted the information as true, and

would not have been put on notice to make further inquiries.” Lynch,

903 F.3d at 1077 (quotation marks omitted). This case does not

remotely fit the bill.

      United States v. Pennsylvania Indus. Chemical Corp. (PICCO),

411 U.S. 655 (1973), is not at all on point, let alone “squarely” so (AFB-

39). In that case, “the responsible administrative agency,” the Army

Corps of Engineers, issued unambiguous published regulations that

construed a statutory ban on discharging pollutants into navigable

waters to proscribe only discharges that “affected navigation.” Id. at

672-74. That regulatory construction squarely conflicted with judicial

decisions construing the statute to impose “a flat ban,” “regardless of



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the effect on navigation.” Id. at 671. In those circumstances, the

defendant should have been permitted to present evidence that its

reliance on the erroneous regulations “was reasonable under the

circumstances.” Id. at 674-75. The upshot is that where erroneous

regulations clearly purport to permit conduct that a statute prohibits, a

defendant may advance reliance as a defense.

     Here, by contrast, there was no regulation (let alone an erroneous

one) that clearly permitted defendants’ crimes. In fact, both Commerce

and the Court of International Trade had no difficulty concluding that

defendants’ aluminum was covered by the plain meaning of the

unambiguous AD/CVD Orders and that their pallets did not qualify for

the finished merchandise exclusion. (9-ER-2100-01; 17-ER-4521-52; 1-

SER-177-203); Perfectus, 391 F. Supp. 3d at 1358. Defendants were

prosecuted and convicted because they fraudulently manipulated their

aluminum into fake products to capitalize on the inapplicable exclusion

and to avoid paying duties. This case, unlike PICCO, involved no

question of reliance on erroneous regulations but rather a scheme to

circumvent accurate regulations. Defendants did not break the law

because they were misadvised; they simply broke the law.



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     Defendants’ claim that “additional government actions” supported

an estoppel defense (AFB-41) is also inaccurate. The fact that CBP did

not catch defendants sooner (see AFB-41 (citing CBP’s “opportunities to

inspect the pallets”)) is a far cry from “affirmative misleading,” see

Brebner, 951 F.2d at 1026. Nor could an estoppel defense be premised

on an “audit” conducted “after [defendants] stopped the imports” (AFB-

41 (emphasis added)); one cannot reasonably rely on an audit before it

occurs. Besides, the post-crime audit defendants reference was not

performed by Commerce, and there was ample evidence that the auditor

was lied to and deliberately misled during the course of the audit. (See

11-ER-2628-40; 19-ER-4926-44; 1-SER-215-20.) There was thus no

basis for an estoppel defense or instruction.

     3.     The district court did not plainly err in declining a
            “mere-presence” instruction

     The Warehouse defendants argue that the district court erred by

not giving a “mere presence” instruction. (AFB-42-43.) That claim is

reviewed for plain error only because defendants defied Federal Rule of

Criminal Procedure 30 by filing their proposed mere-presence

instruction in camera with the district court. (See 20-ER-5144-45);

Hofus, 598 F.3d at 1175 (reviewing for plain error where defendant


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failed to satisfy Rule 30). A party “must furnish a copy” of any

requested jury instruction “to every other party.” Fed. R. Crim. P.

30(a). By violating that requirement, defendants prevented the

government from responding to their proposed instruction below.

     There was no error, plain or otherwise. A mere-presence

instruction is designed for circumstances “where the government’s case

rested primarily on the defendant’s presence, and no more than just

presence.” United States v. Medrano, 5 F.3d 1214, 1218 (9th Cir. 1993)

(cleaned up). This case had nothing to do with presence. The

Warehouse defendants were indicted and convicted because their

owners and agents created and used them to facilitate the illegal

importation and stockpiling of aluminum extrusions in the form of

pallets. There was thus no basis for a mere-presence instruction.

     But even if “presence” could be stretched beyond physical

presence—and defendants cite no Ninth Circuit precedent endorsing

such a construction—a mere-presence instruction is “unnecessary” if

“the government’s case is based on more than just a defendant’s

presence, and the jury is properly instructed on all elements of the

crime.” United States v. Negrete-Gonzales, 966 F.2d 1277, 1282 (9th



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Cir. 1992). Here, the case against the Warehouse defendants was based

on their role in the conspiracy, not mere presence. And though their

“quantity of assistance” is irrelevant, Rosemond v. United States, 572

U.S. 65, 73 (2014), their role was key: the Warehouse defendants

collectively owned some two million square feet of space used to store

2.2 million smuggled pallets. Beyond that, the district court instructed

the jury on all of the elements (12-ER-3126-38), directed jurors to

consider the evidence against each defendant separately (12-ER-3122),

and specifically instructed that a defendant “does not become a

conspirator [] merely by association with one of the persons who are

conspirators” (12-ER-3129). To the extent there was any foundation for

a “mere presence” defense (and there was not), the instructions covered

it, such that any error had no effect on defendants’ substantial rights.

     4.     The district court did not err or abuse its discretion in
            instructing on the scope of the AD/CVD Orders

     The district court instructed the jury that certain aluminum

extrusions exported from China and welded into pallets were included

within the scope of the AD/CVD Orders and did not qualify for the

finished merchandise exclusion. (1-ER-154.) That was an accurate

statement of the law based on the AD/CVD Orders themselves (17-ER-


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4518-20), Commerce’s 2017 scope rulings (17-ER-4521-52; 1-SER-177-

203), and multiple cases in which defendants had litigated the issue

and lost, see Perfectus, 391 F. Supp. 3d at 1353-55; Perfectus Aluminum

Inc. v. U.S. Aluminum Extrusions Fair Trade Comm., 836 F. App’x 883,

887-88 (Fed. Cir. 2020). The district court did not err by correctly

instructing the jury on the law.

     Defendants claim that the district court should have

supplemented its instruction by requiring proof that they “specifically

knew at the time of the actual importations that the aluminum pallets

were subject to AD/CVD Duties” and that they “willfully and

intentionally defrauded the United States by refusing to pay those

duties.” (AFB-45.) But defendants requested no such language below

(see 5-ER-1092-97 (defendants objected to scope instruction but did not

propose any alternative or additional language)), and the district court

did not plainly err by failing to add it. The court instructed that the

government was required to prove knowledge, willfulness, and intent

(12-ER-3134), and the instruction that aluminum extrusions fell within

the scope of the AD/CVD Orders said nothing about defendants’ intent




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to submit false documents to customs or their knowledge regarding the

scope of the AD/CVD Orders.

     Defendants also fault the district court for failing to instruct that

the scope ruling was issued in 2017, after defendants illegally imported

pallets from 2011 through 2014 (AFB-45), but that claim misconstrues

the basic nature of a scope ruling. The legal rules regarding anti-

dumping and countervailing duties arise from Commerce’s AD/CVD

Orders themselves—in this case, the 2010 and 2011 orders that were in

effect through the entire period for which defendants were prosecuted

(17-ER-4518-20). The scope “ruling” (17-ER-4521) was not an “Order”

(AFB-44-46) that imposes legal liabilities but rather an advisory opinion

interpreting the AD/CVD Orders. See Walgreen Co. v. United States,

620 F.3d 1350, 1354 (Fed. Cir. 2010). “Commerce cannot ‘interpret’ an

antidumping order so as to change the scope of that order, nor can

Commerce interpret an order in a manner contrary to its terms.” Id.

Thus, in 2017, Commerce was merely opining that its AD/CVD Orders

encompassed pallets throughout the period of defendants’ scheme. (See

9-ER-2041 (expert witness testified that scope ruling means that pallets




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at issue “were always subject [to the AD/CVD Orders] and duties were

always due” (emphasis added).)

     Furthermore, any error in failing to remind the jury that the scope

ruling was issued in 2017 was harmless. The date of the ruling was

listed on its face, admitted into evidence, and testified to repeatedly. (9-

ER-2037-39, 2075-76, 2079, 2092-93, 2106-07; 17-ER-4521-52.) It did

not need to be repeated as a jury instruction.

     Defendants’ claim that the instruction usurped the jury’s fact-

finding role fares no better. “[T]he judge is the arbiter of the law” and

“must be permitted to instruct the jury on the law and to insist that the

jury follow his instructions.” United States v. Amparo, 68 F.3d 1222,

1224 (9th Cir. 1995); see also United States v. Smith, 282 F.3d 758, 767

(9th Cir. 2002) (affirming jury instruction regarding existence of federal

jurisdiction over geographic area as a matter of law where jury would

then determine facts as to whether offense occurred in that geographic

area). Equipped with the court’s instruction, the jurors were required

to make several factual findings before determining that defendants’

pallets were within the scope of the AD/CVD Orders, including that the

pallets were: (1) made from aluminum extrusions; (2) from the People’s



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Republic of China; (3) made of series 6xxx aluminum alloy; (4) cut-to-

length; and (5) welded together in the form of a pallet. Moreover, after

determining that defendants’ pallets were subject to duties under the

AD/CVD Orders, jurors still had to decide whether defendants

knowingly and willfully violated those orders. The jury performed its

factfinding role. And, again, because the district court’s instruction was

correct, any alleged error in giving it was harmless. Had they been

forced to interpret the law themselves, jurors would have reached the

same conclusion that “the plain meaning of the unambiguous language”

of the AD/CVD Orders encompassed defendants’ pallets. See Perfectus,

391 F. Supp. at 1358.

     5.     The district court did not abuse its discretion in its
            conspiracy instructions

     The indictment alleged a single conspiracy with three objects:

(1) wire fraud, (2) customs fraud, and (3) money laundering. (6-ER-

1346.) Defendants claim that jury unanimity was required as to at

least one object of the conspiracy (AFB-47), but, in fact, the district

court’s instructions required just that: “You must find that there was a

plan to commit at least one of the crimes alleged in the indictment as an

object of the conspiracy with all of you agreeing as to the particular


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crime which the conspirators agreed to commit.” (5-ER-893; 12-ER-

3128.) That instruction was superfluous—“a unanimity instruction as

to the particular objects of a charged conspiracy” is only necessary

where there is “a genuine possibility of juror confusion,” United States

v. Castro, 887 F.2d 988, 993 (9th Cir. 1989), and “[t]here was no

communication or other indication from the jury suggesting that it was

in any way confused,” United States v. Anguiano, 873 F.2d 1314, 1319

(9th Cir. 1989). But, in any event, the instruction matched defendants’

proposal verbatim (5-ER-1035), affording them no basis to complain.

     Defendants also argue (without legal support) that the district

court erred by not using a special verdict form. (AFB-47-49 & nn.20,

21.) “[S]pecial verdicts in criminal trials are not favored,” United States

v. Reed, 147 F.3d 1178, 1180 (9th Cir. 1998), and a special verdict form

was not necessary here, where the jury instructions correctly set forth

the elements of each offense and the jury expressed no confusion.

Moreover, defendants’ convictions on all of the other counts—wire fraud

(Counts 2–10), customs fraud (Counts 11–17), and money laundering

(Counts 18–24)— confirm that jurors unanimously agreed on all three

objects of the conspiracy. Beyond that, defendants’ claim that any



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particular object of the conspiracy was legally inadequate (AFB-47-48)

merely rehashes the meritless arguments from other portions of their

brief. There is no basis for reversal.

D.   The District Court Did Not Abuse its Discretion or Plainly
     Err in Admitting Co-Conspirator Statements

     1.     Standard of review

     This Court ordinarily “review[s] a decision to admit co-conspirator

statements for abuse of discretion, and the factual determination that

statements were made in furtherance of a conspiracy for clear error.”

United States v. Bowman, 215 F.3d 951, 960 (9th Cir. 2000). Whether a

defendant had a “slight connection with the conspiracy” sufficient to

trigger the co-conspirator exception to the hearsay rule should be

reviewed for clear error but has sometimes been reviewed de novo. See

United States v. Castaneda, 16 F.3d 1504, 1507 (9th Cir. 1994) (citing

cases). However, unpreserved evidentiary objections are reviewed for

plain error only, United States v. Banks, 514 F.3d 959, 975-76 (9th Cir.

2008), this Court may affirm on any basis supported by the record,

Nichols, 464 F.3d at 1122, and reversal is not warranted if any error

likely did not affect the verdict, United States v. Gonzalez-Flores, 418

F.3d 1093, 1099 (9th Cir. 2005).


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     2.     Defendants did not preserve many of their hearsay
            objections

     Defendants vaguely contend that “[m]ost of the government’s

evidence at trial was hearsay” (AFB-49) and claim that “35 exhibits and

[unspecified] days of testimony” were admitted “all pursuant to the

coconspirator exception to hearsay” (AFB-50). Those sorts of bare

assertions are inadequate to advance claims on appeal. See United

States v. Torres, 911 F.3d 1253, 1257 n.3 (9th Cir. 2019).

     Moreover, defendants did not preserve many of their hearsay

objections at trial. When the defense challenged the co-conspirator

exception before trial, the district court stated: “This is something I can

rule about when it comes into evidence. And I will rule at that time.”

(7-ER-1606-09.) Although defendants now list dozens of exhibits in

footnotes, they do not indicate where in the trial record they preserved

objections to those exhibits (see AFB-50-51 nn.22-23), and it appears

that a number of exhibits were admitted without objection (see, e.g., 10-

ER-2376 (admitting Exhibit 135 (15-ER-3914-4051)); 8-ER-1798

(admitting Exhibit 215 (19-ER-4920-23)); 8-ER-1913 (admitting Exhibit




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379 (19-ER-5009-11))).5 Defendants also did not object to the tidbits of

testimony they now challenge. (See AFB-55; 9-ER-2162, 2217.) Any

hearsay objections that were not preserved are reviewed for plain error

only. See Banks, 514 F.3d at 975-76.

     3.     The district court correctly admitted evidence under
            the co-conspirator hearsay exclusion

     Statements are “not hearsay” if offered against an opposing party

and made by the party’s co-conspirator during and in furtherance of the

conspiracy. Fed. R. Evid. 801(d)(2). The co-conspirator exclusion

applies “if the government shows by a preponderance of the evidence

that a conspiracy existed at the time the statement was made; the

defendant had knowledge of, and participated in, the conspiracy; and

the statement was made in furtherance of the conspiracy.” Bowman,

215 F.3d at 960-61. “Once a conspiracy is shown, the prosecution need

only present slight evidence connecting the defendant to the




     5 Defendants’ motion to strike exhibits after trial (5-ER-913-36)

was inadequate. Objections must be made “during trial,” Banks, 514
F.3d at 976, and the district court’s statement that it might “later”
grant “remedies” (5-ER-1608) did not excuse defendants from making
specific objections at trial, see United States v. Crawford, 239 F.3d 1086,
1091 (9th Cir. 2001).


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conspiracy.” United States v. Crespo de Llano, 838 F.2d 1006, 1017 (9th

Cir. 1987). The trial court is also permitted to “vary the order of proof”

by allowing the government to introduce co-conspirator statements

before establishing the conspiracy and the defendant’s connection to it.

United States v. Loya, 807 F.2d 1483, 1490 (9th Cir. 1987).

     Here, ample evidence established the conspiracy and defendants’

connection to it, and, on their face, the exhibits defendants challenge

were made in furtherance of the conspiracy. The district court correctly

found that the conspiracy was established (12-ER-3010), and reasonably

exercised its discretion to allow the exhibits defendants now challenge.

            a.    The evidence established defendants’ conspiracy

     At trial, and as described above, the government provided

overwhelming evidence of the conspiracy and defendants’ role in it. (See

Part III.B.1.) Contrary to defendants’ claim (AFB-50), there was also

ample evidence of Shen’s, Shao’s, Wang’s, and Zuopeng Liu’s roles in

the conspiracy.

      Eric Shen: Shen communicated directly with Liu and

        facilitated the conspiracy through his role as CEO of Scuderia




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  and all four Warehouse defendants. (See, e.g., ER-1650-51,

  1654; 9-ER-2113-16, 2130-35, 2142-79.)

 Johnson Shao: Shao was Perfectus’ first CEO and facilitated

  the fake orders of pallets from CZW to Perfectus, Perfectus’

  bogus “loans” funded by CZW, and the money Perfectus sent

  back to CZW as “payments.” (8-ER-1696, 1738-39, 1894-95,

  1963.)

 Zhijie Wang: Wang accompanied Liu to the warehouses,

  harassed Shen into completing the fake $200 million loan to

  CZW, served as Scuderia’s CEO, eventually became CEO of all

  four Warehouse defendants, ordered employees to shred

  documents and withhold information from the government, and

  submitted false declarations in support of civil forfeiture

  actions involving the warehouses. (9-ER-2156, 2169-70; 11-ER-

  2863-64, 2868-73; 13-ER-3282-86; 1-SER-225-40.)

 Zuopeng Liu: Zuopeng Liu convinced Shen to execute the fake

  $200 million loan to CZW, tendered a fake “resignation” letter

  to distance himself from Scuderia, managed Perfectus and Liu’s

  aluminum facility in Mexico, helped with audits of the



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        warehouses, and was part of a small group that discussed

        circumventing the AD/CVD Orders with Liu. (7-ER-1658-59;

        8-ER-1718, 1730-31, 1890-91; 9-ER-2159-76, 2197-98,

        2216-17.)

That evidence established the requisite “slight connection” linking each

co-conspirator to the scheme.6

           b.    The challenged evidence was part of the
                 conspiracy

     All of the documents defendants cite—in many cases with

virtually no analysis—were plainly part of the conspiracy.

     First, defendants cite CZW’s 2012 and 2014 annual reports (14-

ER-3653-3774; 15-ER-3914-4051), which were admitted at trial as



     6 Defendants’ passing and unpreserved claim that Shen’s

testimony “should be disregarded under the ‘adverse interest exception’”
(AFB-56) seriously mischaracterizes the law. Not only do defendants
fail to identify any authority suggesting that the hearsay exclusion for
co-conspirator statements is subject to an exception where a corporate
agent acts adversely to the corporation, but the civil case defendants
cite holds that there is no adverse interest exception when an innocent
third party relies on the agent’s apparent authority. In re ChinaCast
Educ. Corp. Secs. Litig., 809 F.3d 471, 476-77 (9th Cir. 2015). Here,
Shen participated in the fraud against CBP, an innocent third party,
and the proposition that he acted solely for his own interest is nonsense
anyway—Shen, like all of the players in the scheme, operated at the
direction of Liu, the conspiracy’s mastermind.


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Exhibits 133 and 135 without objection (see 10-ER-2376-77 (objecting to

“clarification reports” but not annual reports)). Those exhibits were

part of the conspiracy. They contained the material false statements

that CZW published to its shareholders regarding the company’s

purported arms-length sales of aluminum pallets to the United States.

(See 10-ER-2413-17, 2392-94, 2402-07.) That investor fraud was one of

the core components of the conspiracy. (See 6-ER-1338-40, 1347-57.)

     Second, defendants cite CBP requests for information (19-ER-

4920-35), which were admitted at trial as Exhibits 215 and 216; the

defense did not object to Exhibit 215 and only challenged Exhibit 216 on

business-records and relevancy grounds. (8-ER-1798; 8-ER-1802-06.)

Those exhibits were also connected to the conspiracy. They were found

and seized when executing a search warrant at Perfectus, and they

contained false representations, including that pallets were finished

products that had been sold in arms-length transactions. (See 8-ER-

1798-1802, 1805-08; 19-ER-4922-23, 4925-28, 4933-35.)

     Third, defendants cite a series of emails between CZW and Shao.

(19-ER-5003-47.) Those emails directly facilitated the fraud schemes

by, inter alia: supplying instructions on how to place fake orders for



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aluminum pallets from CZW’s “International Business Department”

(19-ER-5014, 5021); arranging and placing fake orders (19-ER-5013,

5019, 5022, 5024, 5027-29); confirming and invoicing fake orders (19-

ER-5004, 5026, 5032-34, 5038-41, 5044); and arranging and supplying

payments for fake orders and reimbursements (19-ER-5006-08). Those

sorts of bogus sales and purchases of aluminum pallets were at the

heart of the scheme to evade customs duties.

     Fourth, defendants obliquely refer to “Shen’s testimony” regarding

Liu’s actions but cite principally to the government’s closing argument

(AFB-55-56 (citing 12-ER-3022, 3026, 3047, 3049-50)), only identifying

two short portions of actual testimony to which they made no objection

below (AFB-55 (citing 9-ER-2162, 2217-19)). Defendants do not explain

how that testimony was hearsay at all, let alone plainly so. It was not.

Hearsay entails testimony about statements, not actions, see Fed. R.

Evid. 801(c), Liu was the mastermind behind the conspiracy, and any

testimony disclosing statements Liu made in furtherance of the

conspiracy fell firmly within the co-conspirator exclusion.




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            c.    Defendants’ proposed limitations on the co-
                  conspirator exclusion do not exist

     Defendants cite no precedent requiring the government “to prove a

defined set of individuals” involved in the conspiracy in order to invoke

the co-conspirator exclusion. (AFB-51.) The emails that form the bulk

of defendants’ hearsay claims pertained to the conspiracy and involved

indicted co-defendant Shao, who served as Perfectus’ CEO. (8-ER-1738-

39.) Those emails also involved CZW’s agents or employees on matters

within the scope of that relationship. They identified the senders as

from CZW—“Zhongwang”—using the domain name “@zhongwang.com.”

(See, e.g., 19-ER-5003, 5006, 5008-09, 5013, 5022, 5026, 5028.) Those

indicia were more than adequate to establish admissibility under Fed.

R. Evid. 801(d)(2)(D) or (E). See Sea-Land Serv., Inc. v. Lozen Int’l,

LLC, 285 F.3d 808, 821 (9th Cir. 2002) (district court abused its

discretion in excluding email that contained email signature indicating

employee worked for plaintiff’s company). Beyond that, there was also

testimony that Perfectus would wire funds after “receiv[ing] an e-mail

from Zhongwang International” with “instructions as to the specific

amount and which invoices need to be paid.” (8-ER-1898.) Many of the

emails defendants now challenge were exactly those sorts of


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communications—emails that actively facilitated the conspiracy by

orchestrating fake orders for aluminum or payments in return. Those

are prototypical co-conspirator communications.

     There is also no merit to defendants’ claim that the time period of

the emails fell outside the scope of the conspiracy. (AFB-51-52.) The

conspiracy was not limited to 2011 through 2014. That was when

defendants fraudulently evaded the AD/CVD duties, but as alleged in

the indictment and proven at trial, the conspiracy began years earlier—

in or about July 2008—and continued at least until the date of the

indictment—May 2019. (6-ER-1346.) Defendants simply ignore the

investor-fraud and money-laundering components of the conspiracy and

the nearly 100 overt acts spanning July 2008 through December 2017.

(6-ER-1346, 1359-77.) The emails defendants challenge range from

approximately December 2010 through June 2014 (19-ER-5003-47), all

of which were well within the timeframe of the conspiracy.

     4.    Alternatively, the challenged emails were admissible
           as business records

     The approximately 28 emails defendants challenge (AFB-50-54

nn.22, 23, 25) were alternatively admissible as business records under

Federal Rule of Evidence 803(6). (See 8-ER-1802-04 (suggesting that


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challenged exhibit was admissible as a business record).) A district

court may admit business records that are: (1) made or based on

information transmitted by a person with knowledge at or near the time

of the transaction; (2) made in the ordinary course of business; and

(3) trustworthy, with neither the source of information nor method or

circumstances of preparation indicating a lack of trustworthiness.

United States v. Catabran, 836 F.2d 453, 457 (9th Cir. 1988). “The

district court has ‘wide discretion’ in determining whether a business

record meets the trustworthiness standard” under Rule 803(6). United

States v. Scholl, 166 F.3d 964, 978 (9th Cir. 1999). And this Court has

concluded that business emails may qualify under that exception. See,

e.g., United States v. Lischewski, 860 F. App’x 512, 516 (9th Cir. 2021);

United States v. Lindell, 766 F. App’x 525, 530 n.4 (9th Cir. 2019).

     The emails defendants challenge reflected CZW and Shao placing

and processing (fake) orders for aluminum and transferring funds into

and out of bank accounts to fund those purchases. Those

communications were a component of defendants’ fraud scheme but

were made in the course of business activity at or near the time of the

event by knowledgeable persons. Nothing in them indicated a lack of



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trustworthiness regarding the source of information or the method or

circumstances of preparation. Defendants do not dispute any of those

elements. (See AFB-53-54.)

     Defendants argue only that there was no official “custodian of

records” to authenticate these emails (id.), but an official “custodian of

records” is not required to authenticate documents as business

records, see ABS Ent., Inc. v. CBS Corp., 908 F.3d 405, 426 (9th Cir.

2018); United States v. Miller, 771 F.2d 1219, 1237 (9th Cir. 1985). The

“business records exception only requires ‘someone with knowledge’

about the record-keeping, not necessarily an employee of the business or

someone with knowledge of how the reports were made or maintained.”

ABS, 908 F.3d at 426.

     Here, the evidence was supported by testimony of “someone with

knowledge” about the record keeping. Perfectus’ CEO testified about

his use of email in the course of business, and he authenticated multiple

email addresses, including his own, Shao’s, Perfectus employee Jannie

Zhong’s, CZW employee Steve Fung’s, and CZW employee Wendy

Li’s. (8-ER-1899-1902, 1912, 1916.) Separate testimony authenticated

Shao’s and Mark Li’s Perfectus email addresses, confirmed that CZW



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would send emails to Perfectus regarding payments, and confirmed that

Perfectus would email fake purchase orders to CZW. (7-ER-1574-75; 8-

ER-1849-50; 8-ER-1899-1900.) A customer service representative also

authenticated Shao’s email address and his handwriting. (8-ER-1850-

56.) The emails were adequately authenticated.

     The trustworthiness of the emails was also supported by the

testimony of Homeland Security Investigations Special Agent Panuchai

Praditbatuga. Praditbatuga testified that the documents were seized

directly from the Doubleday premises, which was owned by Perfectus,

and the seized documents were then maintained in a locked evidence

room in advance of trial. (8-ER-1794-96, 1816-29; 19-ER-4924-35, 5014-

19, 5021-22; 1-SER-209-12.) They were thus alternatively admissible as

business records.

     5.     Any alleged error was harmless

     Even if the district court abused its discretion in admitting the

evidence defendants challenge, any error was harmless because it did

not “materially affect the verdict.” Gonzalez-Flores, 418 F.3d at 1099.

     The purported hearsay was only a sliver of the government’s case.

Defendants’ fraud scheme was established by overwhelming evidence,



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including emails they never challenged below and do not challenge now.

(See, e.g., 8-ER-1900 (no objection to Exhibit 357 (2-SER-308-12),

reflecting a wire transfer and communication from CZW); 8-ER-1987

(no objection to Exhibit 324 (2-SER-363-64), an email to Shao from area

sales manager regarding pricing of pallets).) The government also

introduced the Perfectus defendants’ own financial statements without

any objection. (8-ER-1944-47; 2-SER-331-32.) These financial

statements were powerful evidence of the fraud scheme: by 2015,

Perfectus had a total inventory of nearly $1.5 billion (unsold aluminum

from CZW), only $51,000 in accounts receivable (no real customers), and

$1.28 billion in loans (cash received from Hong Kong shell companies to

pay CZW for the bogus pallet orders). (2-SER-331.) Beyond that, the

extensive evidence detailed above proved that Liu controlled the

Perfectus and Warehouse defendants and used them to defraud CZW

shareholders, circumvent AD/CVD duties, and launder money around

the world. (See Part III.B.1.) The admission of the challenged evidence

had no effect on the verdict.




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E.   There Was Sufficient Evidence to Support the Customs and
     Wire Fraud Convictions

     1.     Standard of review

     This Court reviews the sufficiency of the evidence de novo, United

States v. Kimbrew, 944 F.3d 810, 813 (9th Cir. 2019), but in a manner

that is “highly deferential” to the jury’s verdict. United States v. Rubio-

Villareal, 967 F.2d 294, 296 (9th Cir. 1992) (en banc). A sufficiency

claim fails if, “after viewing the evidence in the light most favorable to

the prosecution, any rational trier of fact could have found the essential

elements of the crime beyond a reasonable doubt.” United States v.

Nevils, 598 F.3d 1158, 1163-64 (9th Cir. 2010) (en banc).

     2.     There was sufficient evidence of customs fraud

     There was sufficient (and, in fact, overwhelming) evidence as to

each element of customs fraud in violation of 18 U.S.C. § 545.

     At trial, there was direct evidence of defendants’ knowledge and

intent: Shen (the CEO of all four Warehouse defendants)7 admitted

that he never believed the aluminum pallets were finished



     7 Shen purchased three warehouses on behalf of Liu and served as

CEO of Scuderia Development, LLC, the entity that purchased the
fourth warehouse in Riverside. (1-ER-285, 9-ER-2153-54, 10-ER-2443.)


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merchandise, and he told Liu that the pallets were not finished

merchandise, but Liu nevertheless directed the importation of pallets

and use of test shipments to determine whether the pallets falsely

designated as “finished merchandise” could avoid the collection of

AD/CVD duties by CBP. (See Part III.B.1.b; 9-ER-2216-19.)

     There was also overwhelming circumstantial evidence that

defendants never believed the pallets were finished merchandise. See

United States v. Richardson, 588 F.2d 1235, 1240 (9th Cir. 1978) (noting

circumstantial evidence sufficient to establish elements of 18 U.S.C.

§ 545, including knowledge). This evidence included that the pallets

were commercially useless because they were too expensive, built to odd

dimensions, and far too heavy for real use. (See Part III.B.1.) The

evidence demonstrated that defendants planned to melt the pallets and

repurpose the raw aluminum into useable products. (See id.)

Consistent with that plan, Liu acquired and attempted to construct

melting facilities, namely, at Aluminum Shapes (where 100,000 pounds

in pallets were melted) and in Barstow. (See id.)

     Defendants’ knowledge and intent were also demonstrated by

their lies and concealment. In 2013, Shao sent a CBP Request for



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Information to Aluminum Shapes, falsely claiming that there were

buyers for the pallets, even though not a single one had been sold. (7-

ER-1565; 1-SER-209-12, 292-95.) Then, when CBP conducted its audit

in 2015, defendants falsely claimed that the pallets had the “lowest tare

weight” and 100% sealed welds, omitting that the pallets were 170

pounds. (1-SER-215-20.) Similarly, the documents submitted to CBP

said that Aluminum Shapes relied on their customs brokers in

complying with the AD/CVD Orders when, in fact, it was Shao who

directed Perfectus’ broker how to fill out the Forms 7501. (10-ER-2355-

58; 1-SER-215-20.) As their scheme unraveled, Shao prohibited taking

pictures of pallets; the co-conspirators began a mass export of pallets;

and Wang lied in declarations while instructing others to shred

documents and lie too. (11-ER-2601-02; 11-ER-2848; 11-ER-2862-63;

11-ER-2867-74; 12-ER-2929-42; 13-ER-3181-84; 1-SER-225-40.)

     Based on all of that evidence, the jury rationally found that each

defendant either committed customs fraud itself, aided and abetted

customs fraud, or was liable for customs fraud as a reasonably

foreseeable act in furtherance of the conspiracy. Instead of contending




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with that evidence or any of those theories of liability, defendants

advance a series of meritless claims.

     First, defendants claim that the government “chose to base their

case on the 2017 Scope [Ruling]” (AFB-58), but that is not true. The

government did not use the 2017 Scope Ruling to argue intent at all but

only to point out that defendants’ pallets did not actually qualify for the

finished-merchandise exception.

     Second, although there was no need to prove that defendants

attempted to conceal the pallets (AFB-58)—the pallets were themselves

the disguise by which defendants concealed their importation of

aluminum extrusions—there was in fact evidence that defendants

attempted to conceal the pallets too. Such evidence included that: an

employee was fired after he failed to obtain a permit fast enough to

stack the pallets inside the Fontana warehouse when the pallets were

stored outside (7-ER-1641-42; 10-ER-2560); inventory was moved

around to block the pallets from view (7-ER-203); following the 2015

allegations that the Warehouse defendants were stockpiling pallets,

many pallets were packed up and shipped to Vietnam (7-ER-1587-88);




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and Shao told a witness not to “take any pictures” of the Fontana

warehouse and the pallets stored therein (11-ER-2848).

     Third, the fact that the government did not prove that defendants

“attempted to dissemble the aluminum pallets and sell them as

extrusions” is also not an element and simply irrelevant. (AFB-58.)

     Fourth, this was not a case of mere possession by the Warehouse

defendants (AFB-59-60), but one in which defendants agreed to

criminally evade the AD/CVD Orders by affirmatively lying and

concealing before, during, and after the pallets were imported. The

Warehouse defendants played an integral role in the customs fraud

scheme by storing millions of aluminum pallets, and there was more

than sufficient evidence of their guilt.

     3.     There was sufficient evidence of wire fraud

     There was also amply sufficient evidence of wire fraud. The

evidence proved that CZW made numerous materially false statements

to, and omitted material facts from, its investors regarding its revenue,

U.S. exports, related-party transactions, financing of its own purchases,

connection to the Perfectus defendants, and the demand for aluminum

“pallets.” (See Part III.B.1.) That investor fraud was orchestrated with



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defendants in the United States, and each charged count was premised

on a domestic wiring. (See Part V.A.3)

     Defendants once again ignore key parts of the record. They argue

that omissions cannot support a wire fraud charge absent a duty to

report, but the scheme here was not premised on mere “nondisclosures.”

(AFB-60-61.) There were multiple affirmative lies, including CZW’s

false claims that it had no related-party transactions in 2009 through

2012 and only $3.5 million in related-party transactions in 2013 and

2014. (1-SER-140; 13-ER-3300-3479; 14-ER-3480-3652.) Those were

false representations, not omissions.

     In any event, CZW’s non-disclosures were also a permissible basis

to support the wire fraud counts. Material non-disclosures can support

wire fraud charges so long as there is “a relationship creating a duty to

disclose.” United States v. Shields, 844 F.3d 819, 823 (9th Cir. 2016).

“[T]he relationship creating a duty to disclose may be a formal fiduciary

relationship, or an informal, trusting relationship in which one party

acts for the benefit of another and induces the trusting party to relax

the care and vigilance which it would ordinarily exercise.” Id.

(quotation marks omitted). The jury was so instructed here (5-ER-896-



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97; 12-ER-3132-33), consistent with defendants’ own proposed

instruction (5-ER-1062), and this Court has recognized that omitting

information “to convince investors to trust defendants with their

money” can form the requisite trust relationship supporting wire fraud

convictions, see Shields, 844 F.3d at 824. To the extent it relied on

CZW’s non-disclosures to convict defendants of wire fraud, the jury did

precisely what the law allows.

     Defendants’ unpreserved assertion that the government was

required to identify a fiduciary duty explicitly enumerated by foreign

law (AFB-61) is also wrong. The trust relationship can be “informal,”

Shields, 844 F.3d at 824, as defendants agreed below (5-ER-1062), and

is thus not limited to explicit statutory duties, as defendants now claim.

And if it actually was necessary to identify an express legal disclosure

duty—which China presumably does impose on publicly-traded

companies—on plain-error review, defendants, rather than the

government, pay the price for any inadequacy in the record. United

States v. Gonzalez-Aguilar, 718 F.3d 1185, 1189 (9th Cir. 2013).

Sufficient evidence supported the wire fraud convictions.




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F.   There Was No Plain Constructive Amendment or Fatal
     Variance Between the Indictment and the Trial Evidence

     1.     Standard of review

     This Court ordinarily reviews constructive amendment and

variance claims de novo, United States v. Bhagat, 436 F.3d 1140, 1145

(9th Cir. 2006), but “review[s] a variance or constructive amendment to

an indictment that is not objected to at trial for plain error,” United

States v. Hugs, 384 F.3d 762, 766 (9th Cir. 2004).

     As with the bulk of their claims, defendants fail to identify where

or how they preserved a constructive amendment or variance claim,

thus running afoul of Federal Rule of Appellate Procedure 28(a)(8)(A)

and leaving the government and Court to guess. The only time during

or before trial when defendants appear to have preserved constructive

amendment or variance claims was in objecting to (1) a jury instruction

on Pinkerton liability (5-ER-1090) and (2) the scope instruction “on the

ground that the Indictment fails allege [sic] facts speaking to scope

determinations, and the government’s attempt to admit such facts

through the proposed jury instruction amounts to an impermissible

constructive amendment” (5-ER-1096-97). Neither of those objections




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preserved the constructive amendment or variance claims defendants

now advance (AFB-29-36). Thus, plain error review applies.

     2.    There was no constructive amendment or variance

     A constructive amendment “occurs when the defendant is charged

with one crime but, in effect, is tried for another.” United States v.

Pang, 362 F.3d 1187, 1194 (9th Cir. 2004). A constructive amendment

may be shown if “(1) there is a complex of facts presented at trial

distinctly different from those set forth in the charging instrument, or

(2) the crime charged in the indictment was substantially altered at

trial.” United States v. Adamson, 291 F.3d 606, 615 (9th Cir. 2002)

(cleaned up). This Court “reject[s] constructive amendment claims

when the government does not introduce evidence at trial ‘that would

enable the jury to convict the defendant for conduct with which he was

not charged.’” United States v. Soto-Barraza, 947 F.3d 1111, 1119 (9th

Cir. 2020). An unpreserved constructive amendment claim fails unless

the defense proves all the elements of plain error review, including an

effect on substantial rights. United States v. Mickey, 897 F.3d 1173,

1183 (9th Cir. 2018).




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     “A variance, on the other hand, occurs when the evidence offered

at trial proves facts materially different from those alleged in the

indictment.” Adamson, 291 F.3d at 614 (cleaned up). A variance never

requires reversal unless it affects substantial rights, (id.), and, on plain-

error review, defendants bear the burden to prove prejudice, United

States v. Hartz, 458 F.3d 1011, 1022 (9th Cir. 2006).

     Defendants’ constructive amendment and variance claims are

meritless.

     The indictment charged defendants with customs fraud for

submitting Forms 7501 that falsely claimed the pallets were not subject

to AD/CVD duties. (6-ER-1357-58, 1363-70.) The theory was simple:

defendants tack-welded the pallets to fraudulently “circumvent

AD/CVD duties” and falsely documented them as “purported finished

merchandise” “when, in truth and in fact, and as defendants [Liu, CZW,

Chen, and Shao] then well knew, the aluminum extrusions in the form

of pallets were not finished merchandise.” (6-ER-1357-58.) The

indictment also delineated the finished merchandise exclusion as

applying to “products that were fully and permanently assembled and

completed at the time of entry,” and the indictment included specific



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examples of finished merchandise: “finished windows with glass, doors

with glass or vinyl, picture frames with glass pane and backing

material, and solar panels.” (6-ER-1344-45.) That exactly matched the

final 2011 AD/CVD Orders. (17-ER-4514, 4519.)

     The allegations of the indictment also exactly matched the

government’s theory at trial. Far from taking the position that the

pallets were finished merchandise (AFB-32), the government’s entire

trial theme was that the pallets were not finished merchandise.

     That theme began in opening statement: “[T]he evidence will

show[] that these aluminum pallets were not actually finished

merchandise. The evidence will show that the defendants knew these

aluminum pallets were not finished merchandise.” (7-ER-1522

(emphases added).) At other points in opening, the prosecutor described

the pallets as “commercially useless” (7-ER-1514), never sold (7-ER-

1523), “just a disguise” (7-ER-1515, 1522), intended to be “melt[ed]

down” (7-ER-1515, 1523), not “genuinely finished merchandise” (7-ER-

1521), designed to “criminally exploit the finished merchandise

exception” (7-ER-1521), and “falsely and fraudulently” represented to be

“finished merchandise” (7-ER-1522). The government used slides to



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contrast actual finished merchandise, like glass windows, picture

frames, or solar panels (2-ER-221), with images of defendants’ useless

pallets (2-ER-222, 224). The whole point, just as alleged in the

indictment, was that “these aluminum pallets were not actually

finished merchandise.” (7-ER-1523.)

     The government reiterated the same point in closing. The pallets

were not finished products but “[m]ass quantities of aluminum

extrusions with no customers.” (12-ER-3034, 3037.) The pallets did

“not qualify for [the] finished merchandise exception” (12-ER-3047

(emphasis added), and Liu, the mastermind behind the conspiracy,

knew that the pallets were “not finished merchandise” (2-ER-341

(emphasis added)). Nevertheless, defendants fraudulently exploited the

finished merchandise exclusion by importing “2.2 million” “pallets with

no customers.” (2-ER-336; 12-ER-3025, 3041, 3048.) Those imports

were aluminum extrusions merely tack-welded into “the form of pallets”

(12-ER-3030, 3037)—“a product no one has ever seen” (2-ER-340; 12-

ER-3030)—which were sold in fake sales with “fake orders” because

there was “no actual demand” or “real customers” for items that were

“[t]oo heavy,” “too expensive,” and sometimes hollowed out in a manner



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conducive to housing “vermin” (2-ER-336, 343; 12-ER-3031, 3033, 3034,

3035, 3038, 3048-49). The prosecutor displayed photos reflecting how

defendants warehoused their pallets in astonishing seas of useless

metal. (2-ER-259, 286, 337; 12-ER-3037-38.) The government did not

in any manner suggest that defendants’ fake products were actually

finished merchandise.

     That record reveals that defendants’ constructive amendment and

variance claims are as hollow as their pallets. They cite nothing the

government introduced or argued at trial (see AFB-29-36), apart from

one single sentence of testimony in which a witness observed that the

2017 scope ruling “indicates that the merchandise subject to this

request does not contain any non-extruded aluminum component.” (9-

ER-2040; see AFB-32.) That fragment of testimony did not change the

government’s case at all—to the extent it suggested that some of

defendants’ pallets were comprised entirely of aluminum extrusions, it

simply confirmed that they were not creating finished merchandise but

fraudulently circumventing AD/CVD duties. The only other testimony

defendants cite was testimony they themselves elicited on cross-

examination, which again merely recited language from the 2017 scope



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ruling. (9-ER-2078-80; see AFB-32.) Lacking substance, defendants

resort to rhetoric: “radical shift” (AFB-29) “dramatic variance” (AFB-

36), “violently different” claims (id.), “last-minute pivot” (id.). Nothing

of the sort occurred.

G.   There Was No Cumulative Error

     Defendants have not demonstrated any trial error, much less

cumulative error (AFB-72) because they have not established “multiple

errors,” United States v. Macias, 789 F.3d 1011, 1024 (9th Cir. 2015),

which collectively were “so prejudicial as to require reversal,” United

States v. Necoechea, 986 F.2d 1273, 1282 (9th Cir. 1993). In addition,

where, as here, there is “ample evidence of [a defendant’s] guilt,” this

Court has not reversed for cumulative error. United States v. Wilkes,

662 F.3d 524, 543 (9th Cir. 2011).

H.   The District Court Did Not Err or Abuse Its Discretion in
     Imposing and Calculating Restitution

     1.    Standard of review

     The legality of a restitution order is reviewed de novo, but if the

order is within statutory bounds, the restitution amount is reviewed for

abuse of discretion. United States v. Anieze-Smith, 923 F.3d 565, 570




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(9th Cir. 2019). Factual findings supporting the order are reviewed for

clear error. Id.

     2.    The MVRA mandated restitution

     Under the MVRA, a court must order restitution for any “offense

against property” under Title 18, “including any offense committed by

fraud or deceit,” in which a victim suffers “pecuniary loss.” 18 U.S.C.

§ 3663A(c)(1)(A)(ii), (B). The statute extends to victims directly harmed

by offenses involving as an element a “scheme, conspiracy, or pattern.”

18 U.S.C. § 3663A(a)(2).

     Restitution was mandatory here either as to defendants’

conspiracy conviction, 18 U.S.C. § 371, or their customs fraud

conviction, 18 U.S.C. § 545. This Court has held that the MVRA . . .

does apply [to] Section 371 conspiracy offenses,” United States v.

Meredith, 685 F.3d 814, 827 (9th Cir. 2012), and defendants’ customs

fraud convictions qualify because they were “committed by fraud or

deceit,” 18 U.S.C. § 3663A(c)(1)(A)(ii).

     Furthermore, contrary to defendants’ claim, their crimes were

“offenses against property.” (AFB-63-65.) Their scheme to evade more

than $1.83 billion in duties owed under AD/CVD Orders deprived CBP



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of its right to money owed. In Pasquantino v. United States, 544 U.S.

349 (2005), the defendants failed to declare liquor imported to Canada

and evaded paying Canada excise tax. Id. at 353. The Supreme Court

stated that “[t]he right to be paid money has long been thought to be a

species of property” and, as such, held that Canada’s right to its

uncollected import tax was “money or property” for purposes of wire

fraud. Id. CBP’s “entitlement to tax revenue is a straightforward

‘economic’ interest,” and as in Pasquantino, “the [g]overnment alleged

and proved that [defendants’] scheme aimed at depriving [the

government] of money to which it was entitled by law.” Id. at 357. The

right to collect money, such as in the form of taxes or duties, is

“property.” Id. at 356.

     Defendants’ reliance on Cleveland v. United States, 531 U.S. 12

(2000) is misplaced. (AFB-63-64.) In Cleveland, the defendant

fraudulently obtained video poker licenses. Id. at 22. There was no

dispute that he paid Louisiana “its proper share of revenue,” and thus,

the state suffered no economic loss. Id. That is the antithesis of this

case, where defendants did not pay more than $1.83 billion in duties




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owed to CBP. Because CBP was deprived of pure money, unlike the

state in Cleveland, restitution in this case was correctly ordered.

     Other cases likewise have held that the right to unpaid taxes or

property qualifies for restitution. See United States v. Maddux, 917

F.3d 437, 441 (6th Cir. 2019) (government had a property right to

uncollected taxes on cigarette sales); United States v. Bengis, 631 F.3d

33, 40 (2d. Cir. 2011) (illegally harvesting lobsters deprived government

of property under the MVRA); United States v. Ali, 620 F.3d 1062, 1065,

1067, 1073 n.10 (9th Cir. 2010) (scheme to defraud victim of right to full

payment for software qualified as “money or property” under mail and

wire fraud statutes, and district court properly awarded restitution).

Consistent with those precedents, the district court correctly ruled that

CBP was owed restitution.

     3.    CBP did not waive any right to unpaid duties

     Defendants attempt to confuse the collection of unpaid duties

through a civil process with restitution mandated by the MVRA after

conviction in a criminal case. (AFB-64-66.) Defendants argue that

because they successfully defrauded Commerce until it was too late to

administratively assess and disburse customs duties (i.e., “liquidation”),



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see Perfectus, 391 F. Supp. 3d at 1357-58 & n.18, they are entitled to

retain the $1.83 billion they failed to pay.

     Unsurprisingly, that is not the law. Customs regulations

regarding liquidation in separate civil matters have no bearing on other

remedies to collect unpaid duties. See United States v. Aegis Sec., Inc.

Co., 422 F. Supp. 3d 1328, 1344 (C.I.T. 2019) (“the finality of liquidation

is not a bar to the Government’s collection of unpaid duties, taxes, and

fees”). Even if Commerce may not retroactively suspend liquidation and

collect unpaid duties, the government may still bring fraud suits to

collect. See United States v. Vandewater Int’l Inc., 2020 WL 4372115, at

*7 (C.D. Cal. June 23, 2023). Liquidation is “unconcerned with the

intent of the importer” and thus “a different animal” from fraud. 8 Id.

As made clear at trial, if importers deceive CBP into not collecting

duties at the border, duties are still “absolutely” owed. (9-ER-2022-23.)




     8 The jury rejected defendants’ attempts at trial to raise the

concept of liquidation in separate civil matters regarding defendants’
guilt, and the Court should do so here regarding restitution. (See, e.g.,
10-ER-2364-65; 11-ER-2665-66, 2667-68, 2678; 12-ER-2997-99; 12-ER-
3087.)


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     Additionally, “[c]riminal restitution is mandatory under the

MVRA and cannot be waived by a prior civil settlement” involving the

same victims. United States v. Edwards, 595 F.3d 1004, 1014 (9th Cir.

2010); see also United States v. Cloud, 872 F.2d 846, 853 (9th Cir. 1989)

(affirming criminal restitution order even though victim banks had

settled with defendant prior to sentencing and waived “all direct rights

or causes of action”). The MVRA mandated restitution to victims in this

case, and the district court correctly ordered it.

     Defendants’ inadequately developed footnote regarding judicial

estoppel is wildly off-base. (See AFB-66 n.27 (citing United States v.

Liquidators of Eur. Fed. Credit Bank, 630 F.3d 1139, 1149 (9th Cir.

2011).) Even assuming that doctrine “is ever available against the

government in a criminal case,” see United States v. Lehman, 756 F.2d

725, 728 (9th Cir. 1985), it applies only when the same party (1) takes

“clearly inconsistent” positions, (2) “persuaded the court of the earlier

position,” and (3) would “derive an unfair advantage” in the latter

proceeding. Liquidators, 630 F.3d at 1148. Here, the government has

sought to divest defendants of their stolen customs duties in all

proceedings; did not persuade the Court of International Trade to



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permit administrative recovery of those duties, see Perfectus, 391 F.

Supp. 3d at 1357-58; and it is defendants, not the government, who are

attempting to derive an unfair advantage.

     4.    The district court did not abuse its discretion in
           calculating the amount of restitution

     The district court’s calculation of restitution was fully supported

by the evidence and entailed no abuse of discretion or clear error.

Defendants’ contrary claims are, once again, meritless.

     First, defendants’ argument that the fraudulently imported

pallets by Aluminum Shapes should not count towards restitution

ignores that the jury convicted all defendants of specific counts

involving the importation of pallets by Aluminum Shapes. (6-ER-1381-

82.) Further, Liu acquired and controlled Aluminum Shapes

(Presentence Reports 146 n.4), and Shao instructed customs broker

George Wang to falsely indicate that the pallets were not subject to the

AD/CVD duties, including for the pallets imported by Aluminum Shapes

(10-ER-2345, 2353-58, 2372-73). The Forms 7501 for the pallets

imported by Aluminum Shapes were filled out by Wang’s sister using

the information provided by Shao and shell companies controlled by




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Liu. (10-ER-2347-49, 2353-54.) There is no basis to exclude the losses

to CBP for pallets fraudulently imported through Aluminum Shapes.

     Second, defendants did not dispute below, and do not dispute now,

that the government and Probation Office correctly calculated the

amount of unpaid duties as $1,836,244,745, which was premised on the

fraudulent Form 7501s (1-SER-25-27). (See AFB-67.) Defendants also

do not dispute that their Count 1 conspiracy conviction has “conspiracy”

as an element, 18 U.S.C. § 3663A(a)(2) (see AFB-67), which, of course, it

does, see 18 U.S.C. § 371. Because restitution was properly ordered

based on the conspiracy conviction, it extends to the entirety of the

conspiracy. See United States v. Reed, 80 F.3d 1419, 1423 (9th Cir.

1996) (“[I]f someone is convicted of a conspiracy, the court can order

restitution for damage resulting from any conduct that was part of the

conspiracy[.]”). Defendants have waived any contrary arguments by

failing to advance them in their opening brief, United States v. Perez-

Silvan, 861 F.3d 935, 939 (9th Cir. 2017), and the district court’s

calculation of restitution was correct on this basis alone.

     But even if conspiracy had not been charged, defendants are

wrong to suggest that restitution is limited to the seven counts of



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customs fraud charged in the indictment. (AFB-67.) Rather, this Court

has “held that restitution orders can include losses caused by related

conduct for which the defendant was not convicted.” Meredith, 685 F.3d

at 827. All of the customs fraud defendants committed was related to

the exemplar counts for which they were convicted. The restitution

calculation was correct on that basis too.

     Defendants’ argument that the restitution amount should be

reduced because duties “could not apply” to pallets they “re-exported”

out of the United States (AFB-68) is risible. When their scheme

unraveled, they orchestrated a cover-up to export pallets to Vietnam (7-

ER-1588), which they lied by calling a “business decision” (10-ER-2438).

Suffice to say, defendants cite no authority for the proposition that

customs duties are excused where a fraudster that failed to pay at the

time of import later exports its products to cover up its crime. The

district court correctly assessed restitution for all unpaid duties.

     5.    The district court did not abuse its discretion in
           ordering defendants jointly liable

     The district court did not abuse its discretion in ordering

defendants jointly liable for the entire amount of restitution. “The

MVRA expressly permits the imposition of joint and several liability, 18


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U.S.C. § 3664(h) . . . and [defendants] cite[] no authority that reversed

as abuse of discretion a district court’s imposition of joint and several

liability in this context.” United States v. Gagarin, 950 F.3d 596, 609

(9th Cir. 2020). Since the parties disputed the propriety of joint liability

below (3-ER-423, 608; see also Presentence Reports ¶ 109; 20-ER-161),

the court “knew it had the option to apportion the restitution award

among the [d]efendants, but decided not to exercise it.” Gagarin, 950

F.3d at 609 (cleaned up).

     There is no basis “to second-guess the court’s decision.” Id.

Defendants, including the Warehouse defendants, engaged in a massive

conspiracy. The Warehouse defendants played an essential role by

stockpiling millions of commercially useless aluminum pallets. See

United States v. Booth, 309 F.3d 566, 576 (9th Cir. 2002) (no abuse of

discretion in awarding restitution against defendant who characterized

himself as a mere “errand boy” but played an “essential role in the

fraudulent scheme”). Indeed, as the Warehouse defendants

acknowledge, they were “formed for the sole purpose of holding title to

the warehouses” (AFB-70 n.29) where the pallets were stored. In other

words, they existed solely to carry out the conspiracy for which they



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were convicted. Holding them liable for the $1.83 billion in losses

caused by that conspiracy was entirely appropriate.

     Defendants’ contrary claim misquotes and mischaracterizes

precedent. They cite Paroline v. United States, 572 U.S. 434, 445

(2014), for a quotation that appears nowhere in the Supreme Court’s

opinion: that the government must prove “‘not only that a particular

loss would not have occurred but for the conduct underlying the offense

of conviction, but also that the causal nexus between the [particular

defendant’s] conduct and the loss is not too attenuated (either factually

or temporally).’” (AFB-69-70 (alteration in defendants’ brief).) And

although that quotation does appear in two Ninth Circuit opinions,

United States v. Swor, 728 F.3d 971, 974 (9th Cir. 2013) (per curiam);

United States v. Gamma Tech Indus., Inc., 265 F.3d 917, 928 (9th Cir.

2001), defendants’ alteration—adding the words “particular

defendant’s” before the word “conduct”—is not a fair characterization of

the law. Neither Swor nor Gamma Tech requires a causal nexus

between a particular co-conspirator’s conduct and the loss caused by the

conspiracy. Swor involved a single defendant, not a conspiracy at all,

728 F.3d at 972, and in finding an adequate nexus between the



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conspiracy and the loss in Gamma Tech, this Court considered the link

between “the conduct underlying the offense of conviction”—not any

particular defendant’s conduct—and the loss, 265 F.3d at 928.9

     Defendants’ framing of United States v. Tyler, 767 F.2d 1350 (9th

Cir. 1985), is also misleading. (AFB-70.) There, a defendant and his co-

conspirators were caught stealing timber, after which the government

retained the timber for over a year, while it declined in value. Tyler,

767 F.2d at 1351. Applying law that long predated the MVRA, this

Court held that the conspiracy had not caused the depreciation in value

(just over $3,000) during the period when the government held the

timber instead of selling it. Id. at 1351-52. That decision in no way

supports the Warehouse defendants’ suggestion that the government

was required to trace its losses to their “storage” of aluminum (AFB-70);




     9 Paroline, like Swor, was a single-defendant case that did not

involve a conspiracy, and, in accord with Gamma Tech, the Supreme
Court noted in Paroline that restitution is typically “intended to
compensate victims for losses caused by the offense of conviction.” 572
U.S. at 445 (emphasis added).


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it has always been the law that losses need only be connected to the

“offense,” Tyler, 767 F.2d at 1351 (emphasis added).10

     Here, because defendants’ conspiracy and customs fraud

convictions caused losses to CBP, the district court had discretion to

order all defendants jointly liable for restitution. And it fairly exercised

that discretion to award joint liability against the criminal entities that

have valuable assets from which restitution may be paid.

I.   The District Court Procedurally and Substantively Erred
     in Imposing a Restitution Payment Schedule That
     Requires Only Nominal Payments

     1.    Standard of review

     A restitution payment schedule is reviewed for abuse of discretion,

but a “district court necessarily abuses its discretion in setting a

restitution schedule if it makes a legal error.” United States v. Holden,

908 F.3d 395, 403 (9th Cir. 2018). A court also abuses its discretion if

“the sentence was illogical, implausible, or without support in



     10 Tyler also does not support defendants’ contention that the

government could have avoided losses through reliquidation. (AFB-71.)
Reliquidation allows the government to reassess duties within 90 days
from the date of the original liquidation, which, as the Court of
International Trade held, elapsed (long) before defendants’ scheme
came to light. Perfectus, 391 F. Supp. 3d at 1357 n.18.


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inferences that may be drawn from the facts in the record.” United

States v. Martinez-Lopez, 864 F.3d 1034, 1043 (9th Cir. 2017) (en banc)

(quotation marks omitted).

     2.    The district court procedurally erred by failing to rule
           on the parties’ dispute regarding the Warehouse
           defendants’ assets

     After calculating the $1.83 billion restitution amount, the district

court was required to determine the manner and schedule in which that

amount would be paid. 18 U.S.C. § 3664(f)(2). As part of that

determination, the court was required to consider “the financial

resources and other assets of the defendant.” Id.

     Analysis of a defendant’s assets is critical because the MVRA

allows “the enforcement of criminal restitution orders against ‘all

property or rights to property.’” United States v. Novak, 476 F.3d 1041,

1046 (9th Cir. 2007) (en banc) (quoting 18 U.S.C. § 3613(a)). “By its use

of the ‘all property or rights to property’ language, Congress has made

quite clear that the totality of defendants’ assets will be subject to

restitution orders.” Id. (citation omitted). That is also why a restitution

judgment may be enforced against all of a defendant’s assets, United

States v. Berger, 574 F.3d 1202, 1205 (9th Cir. 2009), and why a



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restitution obligation “gives the government a lien ‘on all property and

rights to property,’” a defendant possesses, United States v. Lillard, 57

F.4th 729, 735 (9th Cir. 2023) (quoting 18 U.S.C. § 3613(c)).11

     Here, the district court did not consider defendants’ assets at all.

(See 1-ER-92-93.) The court never even commented on—much less

evaluated—any defendant’s assets, even though the government had

not only pointed out that the warehouses were very valuable but had

disputed the Probation Office’s conservative valuation. The court’s

failure to consider the Warehouse defendants’ assets ran afoul of 18

U.S.C. § 3664(f)(2)(A). Faced with a dispute regarding the value of the

warehouses and whether they could be applied to defendants’

restitution obligation, the district court was required to “set forth an

explanation of its reasoning, supported by the record.” United States v.

Waknine, 543 F.3d 546, 556 (9th Cir. 2008). The MVRA “requires both




     11 Though the Warehouse defendants existed exclusively for

criminal purposes, no such finding was necessary to permit restitution
against the entirety of their assets. Although a criminal fine should be
used to divest a “criminal purpose organization” of all its assets,
U.S.S.G. § 8C1.1, restitution—which is prioritized over fines, 18 U.S.C.
§ 3572(b)—is available against the entirety of any defendant’s assets,
see Novak, 476 F.3d at 1046.


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that a district court set forth its reasons in resolving a dispute over

restitution and that a restitution award, if one issues, be adequately

supported by evidence in the record.” United States v. Tsosie, 639 F.3d

1213, 1222 (9th Cir. 2011). Here, there was neither reasoning nor

support for the district court’s restitution payment schedule.

     The district court’s perfunctory approach also violated sentencing

procedure generally. The court was required to “rule on the dispute”

regarding the Warehouse defendants’ assets or “determine that a ruling

[was] unnecessary.” Fed. R. Crim. P. 32(i)(3)(B); see United States v.

Standard, 207 F.3d 1136, 1142 (9th Cir. 2000) (“Rule 32 requires that

the district court rule on any unresolved objections at the sentencing

hearing.” (emphasis omitted)).12 The court violated “this court’s

mandate of ‘strict’ compliance” with that rule. United States v. Doe, 705

F.3d 1134, 1154 (9th Cir. 2013).




     12 If a criminal-purpose finding was necessary, the district court

also failed to resolve that dispute.


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  3.     The district court procedurally erred by imposing a
         payment schedule without holding defendants to their
         burden at an evidentiary hearing

       The default presumption is that a defendant should pay full

restitution immediately. 18 U.S.C. § 3572(d)(1). To overcome that

presumption, the defendant bears the “burden to show his inability to

pay restitution” by a preponderance of the evidence. United States v.

Nash, 115 F.3d 1431, 1442 (9th Cir. 1997); 18 U.S.C. § 3664(e). The

district court can order installment payments only if it finds “that the

economic circumstances of the defendant do not allow the payment of

any amount of a restitution order, and do not allow for the payment of

the full amount of a restitution order in the foreseeable future under

any reasonable schedule of payments.” 18 U.S.C. § 3664(f)(3)(b).

However, if the court orders anything other than immediate payment in

full, “the length of time over which scheduled payments will be

made . . . shall be the shortest time in which full payment can

reasonably be made.” 18 U.S.C. § 3572(d)(2). And, once again, “a

sentencing court must consider the defendant’s financial resources in

setting a restitution payment schedule.” United States v. Inouye, 821

F.3d 1152, 1156 (9th Cir. 2016).



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     The district court failed to comply with these requirements. The

court did not hold defendants to their burden of demonstrating an

inability to pay, Nash, 115 F.3d at 1442, and defendants never

attempted to satisfy it. None of the Warehouse defendants submitted

any evidence as to their net worth or the specifics of their income, aside

from informing the Probation Office that they now have tenants renting

the warehouses. (See, e.g. Presentence Reports 67 ¶ 75.) The

government, for its part, provided two independent valuations that both

estimated the warehouses to be worth approximately $1 billion. (3-ER-

387-402.) Nothing in the record suggests that the district court

considered the value of the warehouses before setting a restitution

payment schedule requiring only nominal payments.

     Moreover, the district court ignored defendants’ own repeated

request for an evidentiary hearing to determine a potential payment

schedule. (3-ER-452, 584-85.) Such a hearing would have afforded

defendants an opportunity to carry their burden to show an inability to

pay and would have allowed the court to assess the value of the

warehouses, as Probation suggested (Presentence Reports 242). A

hearing also might have permitted the court to fashion a “reasonable



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and periodic payment plan,” which was all defendants sought. (3-ER-

584-85.) Instead, the district court required “nominal” payments, which

are only permissible when no “reasonable schedule of payments” is

possible. 18 U.S.C. § 3664(f)(3)(B). That sua sponte selection of an even

more lenient sanction was improper. Judges should “not manufacture

arguments for [a party],” as the district court did here. Greenwood v.

FAA, 28 F.3d 971, 977 (9th Cir. 1994).

  4.     The district court clearly erred in finding that the
         Warehouse defendants could afford only nominal
         payments

       The district court’s procedural errors yielded the clearly erroneous

finding that the Warehouse defendants could make only nominal

payments. (1-ER-93.) Nothing in the record supported that finding.

See United States v. Van Alstyne, 584 F.3d 803, 820 (9th Cir. 2009)

(district court plainly erred in ordering restitution payment schedule

not supported by record). Indeed, the record disproved that finding.

Two independent valuations estimated that the warehouses had a

combined market value of approximately $1 billion. The Probation

Office offered a “very low estimate” of over $161 million based only on

tax assessments. (Presentence Reports 67-68, 89, 109-10, 131, 242.)



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That was consistent with defendants’ own 2014 tax return, which

collectively valued the warehouses at just over $162 million.

(Presentence Reports 67, 88, 109, 130.) Whatever the correct valuation,

there is no question defendants have resources to make “payment of any

amount of a restitution order,” 18 U.S.C. § 3664(f)(3)(B), and the district

court’s contrary finding was clear error.

     That clearly erroneous finding has dramatic implications. Based

on collective restitution payments of $400 a month, it will take the four

Warehouse defendants over 375,000 years to pay the full amount of

restitution. That cannot possibly be “the shortest time in which full

payment can reasonably be made,” 18 U.S.C. § 3572(d)(2), and it

effectively permits the Warehouse defendants to escape all punishment

for their crimes. That unfair result requires vacatur of the restitution

payment schedule.




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                                      VI

                               CONCLUSION

     Defendants’ convictions and restitution amount should be

affirmed, but the district court’s restitution payment schedule should be

vacated and remanded.

DATED: August 4, 2023                   Respectfully submitted,

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                 STATEMENT OF RELATED CASES

     The government states, pursuant to Ninth Circuit Rule 28-2.6,

that it is unaware of any cases related to this appeal.
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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9th Cir. Case Number(s) Nos. 22-50080, 22-50081, 22-50082, 22-50103

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